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                 EXHIBIT A
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                                               EFiled: Sep 24 2018 07:02PM EDT
                                               Transaction ID 62437386
                                               Case No. N18C-09-211 AML CCLD
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                                             Complaint




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                                               Transaction ID 62437386
                                               Case No. N18C-09-211 AML CCLD
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                                               Transaction ID 62437386
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                                               EFiled: Sep 24 2018 07:02PM EDT
                                               Transaction ID 62437386
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        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 55 of 349 PageID #: 61
                               Summons Under 10 Del. C. Section 3104




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        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 60 of 349 PageID #: 66
                                 Summons Insurance Commissioner




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                                               EFiled: Sep 24 2018 07:02PM EDT
                                               Transaction ID 62437386
                                               Case No. N18C-09-211 AML CCLD
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                                    Summons Registered Agent




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   EFiled: Oct 05 2018 03:43PM EDT
   Transaction ID 62527655           EFiled: Sep 24 2018 07:02P
   Case No. N18C-09-211 AML CCLD     Transaction ID 62437386
                                     Case No. N18C-09-211 AML
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS                           )
 MANAGEMENT, L.P. (F/K/A                     )
 SYCAMORE PARTNERS                           )
 MANAGEMENT, L.L.C.), SYCAMORE               )
 PARTNERS, L.P., and SYCAMORE                )
 PARTNERS A, L.P.,                           )
                                             )
                         Plaintiffs,         )
                                              )
             v.                               ) C.A.NO.                (CCLD)
                                              )
 ENDURANCE AMERICAN INSURANCE                 )
 COMPANY, CONTINENTAL                         ) TRIAL BY JURY OF
 CASUALTY COMPANY, ZURICH                     ) TWELVE DEMANDED
 AMERICAN INSURANCE COMPANY,                  )
 XL SPECIALTY INSURANCE                       )
 COMPANY, STARR INDEMNITY &                   )
 LIABILITY COMPANY, MARKEL                    )                   &
 AMERICAN INSURANCE COMPANY,                  )                                  £
 ARGONAUT INSURANCE COMPANY,                  )                  §
 GREAT AMERICAN INSURANCE                    )J                  ^
                                                                 en
 COMPANY, IRONSHORE INDEMNITY                )
 INC., and EVEREST NATIONAL                  )
 INSURANCE COMPANY,                          )                   ^
                                             )                   £           -
                         Defendants.         )

                                   PRAECIPE

TO:         Prothonotary
            Superior Court of the State of Delaware
            Leonard L. Williams Justice Center
            5 00 North King Street
            Wilmington, DE 19801

      PLEASE ISSUE a summons to the Plaintiffs' counsel of record, commanding

him to summon and direct the below-named Defendants to answer the Complaint by
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 65 of 349 PageID #: 71




serving the below-named Defendants pursuant to 10 Del C, § 3104 with a copy of

the Summons and Complaint as follows:

      1.    Continental Casualty Company
            c/o an Officer, a Managing or General agent
            333 South Wabash Avenue
            Chicago, IL 60604

                  -and-

            Continental Casualty Company
            c/o an Officer, a Managing or General agent
            151 North Franklin Street
            Chicago IL, 60604

      2.    Zurich American Insurance Company
            c/o an Officer, a Managing or General agent
            1299 Zurich Way
            Schaumburg, IL 60196

      3.    Starr Indemnity & Liability Company
            c/o an Officer, a Managing or General agent
            399 Park Avenue, 8th Floor
            New York, NY 10022

     4.     Markel American Insurance Company
            c/o an Officer, a Managing or General agent
            4521 Highwoods Parkway
            Glen Allen, VA 23060

     5.    Argonaut Insurance Company
           c/o an Officer, a Managing or General agent
           175 East Houston Street - Suite 1300
           San Antonio, TX 78205
     6.    Great American Insurance Company
           c/o an Officer, a Managing or General agent
           301 E. Fourth Street
           Cincinnati, OH 45202
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 66 of 349 PageID #: 72




      7.     Ironshore Indemnity Inc.
             c/o an Officer, a Managing or General agent
             28 Liberty Street, 4th Floor
             New York, NY 10005-1480

      PLEASE ISSUE summons to the below-named Defendants for service by the

Sheriff of Kent County upon the Defendants listed below by serving two (2) copies

of the Summons, Praecipe, and Complaint for the Defendants on the Commissioner

of Insurance, State of Delaware, 841 Silver Lake Boulevard, Dover, Delaware

19901, in accordance with 18 Del. C. § 525. At the time of service the sheriff will

deliver a check payable to the Commission of Insurance in the amount of $250,00,

representing the require fee:

                   Continental Casualty Company
                   Zurich American Insurance Company
                   Starr Indemnity & Liability Company
                   Markel American Insurance Company
                   Argonaut Insurance Company
                   Great American Insurance Company
                   Ironshore Indemnity Inc.
                   Endurance American Insurance Company
                   XL Specialty Insurance Company
                   Everest National Insurance Company

      PLEASE ISSUE a summons to the below-named Defendants for service by

the Sheriff of New Castle County upon the Defendants listed below by serving a

copy of the Summons and Complaint for the Defendants on their registered agent,

in accordance with 8 Del. C. § 321:
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 67 of 349 PageID #: 73




                 Endurance American Insurance Company
                 XL Specialty Insurance Company
                 Everest National Insurance Company

                                     POTTER ANDERSON & CORROON LLP

                                     By: /s/ David J. Baldwin
                                        David J. Baldwin (No. 1010)
                                         Carla M. Jones (No. 6046)
                                         Tracey E. Timlin (No. 6469)
                                        Hercules Plaza - Sixth Floor
                                         1313 North Market Street
                                         Wilmington, DE 19801
                                         Telephone: (302) 984-6000
                                         dbaldwin@potteranderson. com
                                         cj ones@potteranderson.cm
                                        ttimlin @potteranderson.com

 Dated: September 24, 2018           Attorneys for   Plaintiffs
 5918434/45380
        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 68 of 349 PageID #: 74
                                   (31) Writs issued on 10-2-2018.




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                                               EFiled: Oct 09 2018 04:48PM EDT
                                               Transaction ID 62540565
                                               Case No. N18C-09-211 AML CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                  C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                        ENTRY OF APPEARANCE

     PLEASE ENTER THE APPEARANCE of Elena C. Norman of the law firm

of Young Conaway Stargatt & Taylor, LLP on behalf of Defendant Markel

American Insurance Company in the above-captioned action.
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 70 of 349 PageID #: 76




                                      YOUNG CONAWAY STARGATT
                                       & TAYLOR, LLP

                                      /s/ Elena C. Norman
                                      Elena C. Norman (No. 4780)
                                      Rodney Square
                                      1000 North King Street
                                      Wilmington, DE 19801
                                      (302) 571-6600

                                      Attorneys for Defendant Markel
                                      American Insurance Company
Dated: October 9, 2018




                                     2
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 71 of 349 PageID #: 77




                       CERTIFICATE OF SERVICE

        I, Elena C. Norman, Esquire, hereby certify that on October 9, 2018, a

  copy of the foregoing document was served on the following counsel in the

  manner indicated below:

  BY FILE & SERVEXPRESS

  David J. Baldwin, Esq.
  Carla M. Jones, Esq.
  POTTER ANDERSON
   & CORROON LLP
  Hercules Plaza, Sixth Floor
  1313 North Market Street
  Wilmington, DE 19801




                                        /s/ Elena C. Norman
                                        Elena C. Norman (#4780)
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        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 73 of 349 PageID #: 79
                 Entry of Appearance of Elena C. Norman, Esq. of Young Conaway Stargatt & Taylor,




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                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                   C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                      MOTION FOR ADMISSION
                 PRO HAC VICE OF MICHAEL F. PERLIS

      Elena C. Norman (“Movant”), a member of the Delaware bar, pursuant to

Delaware Superior Court Civil Rule 90.1, hereby moves the admission pro hac
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 75 of 349 PageID #: 81



vice of Michael F. Perlis (“Applicant”) of Locke Lord LLP, 300 S. Grand Avenue,

Suite 2600, Los Angeles, CA 90071 to represent Defendant Markel American

Insurance Company in this action. Movant certifies that she finds Applicant to be

a reputable and competent attorney, and that Movant is in a position to recommend

Applicant’s admission pro hac vice. The Applicant is admitted, practicing, and in

good standing in the States of California, New York and the District of Columbia.



                                          YOUNG CONAWAY STARGATT &
                                          TAYLOR, LLP

                                          /s/ Elena C. Norman
                                          Elena C. Norman (No. 4780)
                                          Rodney Square
                                          1000 North King Street
                                          Wilmington, DE 19801
                                          (302) 571-6600

                                          Attorney   for   Defendant       Markel
                                          American Insurance Company


Dated: October 9, 2018
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 76 of 349 PageID #: 82




                       CERTIFICATE OF SERVICE

        I, Elena C. Norman, Esquire, hereby certify that on October 9, 2018, a

  copy of the foregoing document was served on the following counsel in the

  manner indicated below:

  BY FILE & SERVEXPRESS

  David J. Baldwin, Esq.
  Carla M. Jones, Esq.
  POTTER ANDERSON
   & CORROON LLP
  Hercules Plaza, Sixth Floor
  1313 North Market Street
  Wilmington, DE 19801




                                        /s/ Elena C. Norman
                                        Elena C. Norman (#4780)
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                 Perlis, Michael F.: Motion for Admission Pro Hac Vice to represent Defendant Markel




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                                               Transaction ID 62540565
                                               Case No. N18C-09-211 AML CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                 C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                NOTICE OF MOTION FOR ADMISSION
                PRO HAC VICE OF MICHAEL F. PERLIS
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         PLEASE TAKE NOTICE that the undersigned will present the attached

Motion for Admission Pro Hac Vice of Michael F. Perlis at the convenience of the

Court.

                                         YOUNG CONAWAY STARGATT &
                                         TAYLOR, LLP

                                         /s/ Elena C. Norman
                                         Elena C. Norman (No. 4780)
                                         Rodney Square
                                         1000 North King Street
                                         Wilmington, DE 19801
                                         (302) 571-6600

                                         Attorney   for   Defendant      Markel
                                         American Insurance Company


Dated: October 9, 2018
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                 Perlis, Michael F.: Notice of Motion for Admission Pro Hac Vice to represent Defendant




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                                               Transaction ID 62561048
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                Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Great American




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                                                    EFiled: Oct 15 2018 04:55PM EDT
                                                    Transaction ID 62561048
                                                    Case No. N18C-09-211 AML CCLD
                           CERTIFICATE OF SERVICE
        David J. Baldwin hereby certifies that, on this 15th day of October 2018, he

caused to be filed, via File & ServeXpress, an electronic version of the foregoing

document and to be served, via File & ServeXpress, upon the Delaware Counsel of

record identified below:

Elena C. Norman, Esq.
Young Conaway Stargatt
 & Taylor, LLP
Rodney Square
1000 North King Street
Wilmington, DE 19801

Attys. for Markel American Insurance
Company



                                              /s/ David J. Baldwin
                                              David J. Baldwin (No. 1010)
                                              Carla M. Jones (No. 6046)
5959313/45380
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 88 of 349 PageID #: 94




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        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 89 of 349 PageID #: 95
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                                               EFiled: Oct 15 2018 05:03PM EDT
                                               Transaction ID 62561097
                                               Case No. N18C-09-211 AML CCLD
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        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 94 of 349 PageID #: 100
                 Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore Indemnity Inc.




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              Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore Indemnity




                                              Multiple Documents
Part   Description
1      Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore Indemnity Inc.
       pursuant to 10 Del. C. Section 3104(d)(3)
2      Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore Indemnity Inc.
       pursuant to 10 Del. C. Section 3104(d)(3)52




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           Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore Indemnity




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Attys. for Markel American Insurance
Company



                                              /s/ David J. Baldwin
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5959313/45380
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                Amendment to Complaint Under Superior Court Rule 4(h) for Starr Indemnity & Liability




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                                 October 16, 2018

HAND DELIVERY AND
FILEANDSERVEXPRESS
The Honorable Abigail M. LeGrow
Superior Court of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801

             Re: Sycamore Partners Management, L.P., et al. v. Endurance American
                 Insurance Company, et al. N18C-09-211-AML (CCLD)

Dear Judge LeGrow:

             On behalf of Defendant Markel American Insurance Company

(“MAIC”), enclosed is a Corrected Brief in Support of Defendant MAIC’s Motion

to Dismiss. The original Brief, filed October 15, 2018, had a typographical error,

and the Corrected Brief replaces only the words “Defendant Insurers” with

“Sycamore Insureds” on page 22. A redline comparison of the original Brief and

the Corrected Brief is attached hereto as Exhibit A.




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 122 of 349 PageID #: 128

YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable Abigail M. LeGrow
October 16, 2018
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             Counsel is available at the Court’s convenience if Your Honor has any

questions regarding the enclosed.

                                            Respectfully submitted,

                                            /s/ Elena C. Norman

                                            Elena C. Norman (No. 4780)


Enclosures

cc: David Baldwin, Esq. (via e-filing)
    Carla Jones, Esq. (via e-filing)
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 123 of 349 PageID #: 129
                Letter to Judge LeGrow from Elena C. Norman regarding Corrected Brief in Support of




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       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE



 SYCAMORE PARTNERS             )
 MANAGEMENT, L.P. (F/K/A       )
                               )
 SYCAMORE PARTNERS
                               )
 MANAGEMENT, L.L.C.), SYCAMORE )
 PARTNERS, L.P., and SYCAMORE  )
 PARTNERS A, L.P.,             )
                             )
           Plaintiffs,       )
                             )
 v.
                             )              C.A. NO.: N18C-09-211 AML
                             )
 ENDURANCE AMERICAN                         (CCLD)
                             )
 INSURANCE COMPANY,          )
 CONTINENTAL CASUALTY        )
 COMPANY, ZURICH AMERICAN    )
                             )
 INSURANCE COMPANY, XL
                             )
 SPECIALTY INSURANCE         )
 COMPANY, STARR INDEMNITY & )
 LIABILITY COMPANY, MARKEL   )
 AMERICAN INSURANCE          )
 COMPANY, ARGONAUT           )
                             )
 INSURANCE COMPANY, GREAT
                             )
 AMERICAN INSURANCE          )
 COMPANY, IRONSHORE          )
 INDEMNITY INC., and EVEREST )
 NATIONAL INSURANCE COMPANY )
                             )
                             )
            Defendants.

     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
    CORRECTED* BRIEF IN SUPPORT OF ITS MOTION TO DISMISS




___________________
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* This Corrected Brief replaces “Defendant Insurers” with “Sycamore Insureds” on
page 22.



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Dated: October 15,16, 2018            American Insurance Company




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     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
     CORRECTED BRIEF IN SUPPORT OF ITS MOTION TO DISMISS

      Defendant Markel American Insurance Company (“MAIC”), through its

undersigned counsel, hereby files the instant Motion to Dismiss the Complaint filed

by Plaintiffs Sycamore Partners Management, L.P. (f/k/a Sycamore Partners

Management, L.L.C.), Sycamore Partners, L.P., and Sycamore Partners A, L.P.

(collectively “Plaintiffs” or “Sycamore”).

I.    INTRODUCTION

      Sycamore seeks by this lawsuit to compel the Defendant Insurers to fully pay

an unidentified settlement of a yet to be filed litigation and all Defense Expenses

submitted without regard to the contents of the applicable Policies and the nature of

the Defense Expenses. That is simply not what either the law or the Policies require.

      While the Defendant Insurers are not even aware of the full details of any

Claims to be asserted against Sycamore, they have been sued for failing to blindly

agree to provide coverage under their respective policies of insurance for unknown

Claims and Defense Expenses. In light of what the Complaint does not allege and

cannot allege, this action is not ripe for adjudication because Sycamore cannot meet

its burden to demonstrate an “actual controversy” exists between it and MAIC, and

the action fails to state a claim as to MAIC for which relief may be granted. While

Sycamore may surmise as to what it thinks the Claims will be, until the facts and

claims are set forth, there is no way for MAIC to ascertain whether or not there is
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coverage for any potential, yet unidentified, settlement. Accordingly, Sycamore’s

request is not sufficiently ripe to implicate this Court’s subject matter jurisdiction

and fails to state a claim such that it should be dismissed.

      Notwithstanding the failure to identify the Claims for which coverage is

sought, Sycamore also fails to recognize that MAIC has no obligation to provide

coverage under the Excess Follow Form, Policy No. MKLM6EL0002892 (the

“MAIC Excess Policy”), which MAIC issued to Sycamore, until such time as the

Underlying Insurance in the amount of $50,000,000 has been exhausted by payment

of covered Loss. Sycamore did not and cannot allege that the Underlying Insurance

in the amount of $50,000,000 has been exhausted by the actual payment of

reasonable, covered Loss. Therefore, MAIC has no obligation to reimburse all

Defense Expenses and/or indemnify any settlement until exhaustion of Underlying

Insurance. Accordingly, for Sycamore’s failure to state a claim for which relief can

be granted, this action should be dismissed.

      It is apparent as well that this Complaint should also be dismissed based on

forum non conveniens. The only connection to Delaware is that some of the parties

are organized under Delaware law. Otherwise, the parties’ principal places of

business are in New York or locations other than Delaware. The conduct underlying

the potential Claim and/or settlement occurred in New York. The bankruptcy of

Nine West is pending in the Southern District of New York. The MAIC Excess


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Policy was issued in New York. Premiums were paid in New York. New York law

will apply to coverage determinations. Given the strong connections this dispute has

to New York, it should be dismissed to allow for it to be re-filed in New York.

      MAIC respectfully requests that this Court dismiss with prejudice Counts II

and III as to MAIC and without leave to replead pursuant to Superior Court Rules of

Civil Procedure 12(b)(1) and/or 12(b)(6), or in the alternative, dismiss this action

based on forum non conveniens.

II.   FACTUAL BACKGROUND

      A.    Nature of the Proceedings

      Sycamore has filed the Complaint asserting causes of action against MAIC

for declaratory judgment. MAIC moves to dismiss the Complaint under Superior

Court Rules of Civil Procedure 12(b)(1) due to lack of ripeness and 12(b)(6) for

failure to state a claim on which relief may be granted. MAIC is also seeking

dismissal based on forum non conveniens.




                                         3
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        B.    Statement of Relevant Facts

              1.    The Policies of Underlying Insurance

        MAIC issued to Sycamore Partners Management, L.P., as the Named Insured,

an Excess Follow Form Policy, No. MKLM6EL0002892 (the “MAIC Excess

Policy”) for the Policy Period of December 31, 2015 to June 30, 2018. The MAIC

Excess Policy, except as stated otherwise, “shall provide the Insureds with insurance

in accordance with the terms, conditions and exclusions set forth in the Followed

Policy and, to the extent coverage is further limited or restricted thereby, in any other

Underlying Insurance.” Amended Insuring Agreement (Form MAUB 1503 01 15).

MAIC’s obligations, if any, are triggered “only after the insurers of the Underlying

Insurance, an excess difference–in-conditions (“DIC”) insurer, the Insureds, or

parties on behalf of the Insureds pay in legal currency as loss covered under the

Underlying Insurance the full amount of the Underlying Limit.” Id. MAIC’s

maximum aggregate liability for all Loss covered under its policy is $10,000,000

excess of $50,000,000.

        The Followed Policy was issued by Endurance American Insurance Company

(“Endurance”)1 and has aggregate combined Limits of Liability for all Loss,

including Defense Expenses, of $10,000,000 per Claim and in the aggregate excess

of a $500,000 Retention. The Underlying Insurance consists of the Followed Policy


1
    Endurance is now a member of the Sompo International Companies (“Sompo”).

                                            4
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plus four other excess policies of insurance, each of which has aggregate Limits of

Liability of $10,000,000.2

            2.     Allegations of the Complaint

      Sycamore is a private equity group, located at 9 West 57th Street, New York,

New York, that consists of entities that, respectively, manage and hold investments

in portfolio companies through a variety of strategies, including leveraged buyouts,

distressed buyouts, corporate carve-outs, and debt investments. (Compl. ¶ 2.)

Starting in August of 2017, various parties began to assert claims against Sycamore

alleging that Sycamore and various Sycamore Individuals (as those terms are

defined in the Complaint) committed wrongful acts in connection with Sycamore’s

investment in and transactions involving a portfolio company called Nine West

Holdings, Inc. (“Nine West”). (Compl. ¶ 5.) Over the following months, creditors

of Nine West asserted additional Claims against Sycamore and Sycamore

Individuals, including but not limited to in various proposed “restructuring

agreements” of Nine West, which demanded that Sycamore pay settlement funds to

compensate for the alleged damages caused by Sycamore and the Sycamore

Individuals to Nine West and its creditors. (Compl. ¶ 42.)




2
  The insurers of the Underlying Insurance are Endurance, Continental Casualty
Company, Zurich American Insurance Company, XL Specialty Insurance Company
and Starr Indemnity & Liability Company.

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      Nine West and certain affiliated companies subsequently filed for Chapter 11

petitions on April 6, 2018 in the United States Bankruptcy Court for the Southern

District of New York, at which time the Nine West bankruptcy estate became

empowered to pursue claims against Sycamore and the Sycamore Individuals and

negotiate potential settlement of such claims.3 (Compl. ¶ 5.) Specifically, the Nine

West bankruptcy estate — through the disinterested directors of Nine West —

became empowered to pursue all Claims against Sycamore and the Sycamore

Individuals (again, the “Nine West Claims”) and to negotiate potential settlements

of the Nine West Claims with Sycamore. The Nine West Claims include, among

others, alleged fraudulent conveyances, breaches of fiduciary duty and aiding and

abetting breaches of fiduciary duty. (Compl. ¶ 43.)

      On September 11, 2018, the disinterested directors of Nine West and the

Committee of Unsecured Creditors of Nine West sent a written demand letter to

Sycamore. This demand letter reiterated and alleged the Nine West Claims against

Sycamore and the Sycamore Individuals, including various alleged breaches of

fiduciary duties and aiding and abetting of breaches of fiduciary duties. (Compl. ¶

44.) The demand letter further provided that it was not intended to express each and




3
  This allegation may not be accurate, as it is MAIC’s understanding that the
Bankruptcy Court has not yet provided its authority to creditors and/or a trustee to
pursue any claims.

                                         6
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every claim that may be asserted against the Sycamore Defendants or others, nor to

detail every relevant fact or even to highlight the most important facts.

        Allegedly, Sycamore has already incurred several million dollars of Defense

Expenses in the investigation and defense of the claims asserted against Sycamore

and the Sycamore Individuals (the “Nine West Claims”) and continues to incur

substantial Defense Expenses. (Compl. ¶¶ 6, 45.)          By this action, Plaintiffs

accordingly seek declarations that (a) the Insurers are obligated to provide coverage

for all Defense Expenses incurred for the Nine West Claims and (b) the Insurers are

obligated to provide coverage for any settlement of the Nine West Claims. (Compl.

¶ 9.)

III.    ARGUMENT

        A declaratory judgment action presents an actual controversy if “the facts

alleged, under all the circumstances, show that there is a substantial controversy,

between parties having adverse legal interests, of sufficient immediacy and reality to

warrant the issuance of a declaratory judgment.” Md. Cas. Co. v. Pac. Coal & Oil

Co., 312 U.S. 270, 273 (1941). Under Superior Court Civil Rule 12(b)(6), the Court

may dismiss a plaintiff’s claim for “failure to state a claim upon which relief can be

granted.” Super. Ct. Civ. R. 12(b)(6). “The Court must determine whether the

claimant may recover under any reasonably conceivable set of circumstances

susceptible of proof [and] accept as true all non-conclusory, well-pleaded


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allegations.” LaFayette v. Christian, No. N12C-04-163 MMJ, 2012 WL 3608690, at

*1 (Del. Super. Aug. 21, 2012) (internal citation and quotation marks omitted). The

Court may consider documents attached to or incorporated by reference in the

complaint, matters “integral” to the complaint, and facts of which a court may take

judicial notice, such as publicly-filed documents and matters that are not the subject

of reasonable dispute.     See Cornell Glasgow v. LaGrange Props., LLC, No.

N11C-07-160 JRS CCLD, 2012 WL 3157124, at *3 n.28 (Del. Super. Aug. 1, 2012);

Prather v. Doroshow, Pasquale, Krawitz & Bhaya, No. 11 C-02-139 RRC, 2011

WL 1465520, at *1 n.2 (Del. Super. Apr. 14, 2011). Conclusions “will not be

accepted as true without specific allegations of fact to support them.” In re Tri-Star

Pictures, Inc. Litig., 634 A.2d 319, 326 (Del. 1993).

      “Unlike the standards employed in Rule 12(b)(6) analysis, the guidelines for

the Court’s review of [a] Rule 12(b)(1) motion are far more demanding of the

non-movant. The burden is on Plaintiffs to prove jurisdiction exists. Further, the

Court need not accept Plaintiffs[’] factual allegations as true and is free to consider

facts not alleged in the complaint.” Appriva S’holder Litig. Co. v. ev3, Inc., 937

A.2d 1275, 1284 n.14 (Del. 2007) (first alteration in original) (citation omitted).

      A. Counts II and III, As Alleged Against MAIC, Are Not Ripe For
         Adjudication And Based On Their Prematurity Should Be Dismissed.

      Count II of the Complaint seeks a declaration that MAIC, as an Excess

Insurer, is required to pay all Defense Expenses in excess of the $10,000,000 limit of
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the primary, Followed Policy (Compl. ¶ 66.) Count III seeks a declaration that the

Defendant Insurers, including MAIC, are obligated to provide coverage to

Sycamore for any settlement of the Nine West Claims. (Compl. ¶ 75.) However, as

these two counts apply to MAIC, neither claim presents a justiciable controversy

because there are too many unknown factors and contingencies relative to the

exhaustion of the $50,000,000 in insurance underlying the MAIC Excess Policy,

which is required to be exhausted prior to any obligation on the part of MAIC.

Indeed, MAIC’s current participation in this action is premature and a waste of this

Court’s limited resources.

      In order for a claim to present an actual case or controversy, “the issue

involved in the controversy must be ripe for judicial declaration.” Monsanto Co. v.

Aetna Casualty and Surety Co., 565 A.2d. 268, 274 (Del. Super. 1989). “Ripeness,

the simple question of whether a suit has been brought at the correct time, goes to the

very heart of whether a court has subject matter jurisdiction.” Bebchuk v. CA, Inc.,

902 A.2d 737, 740 (Del. Ch. 2006) (quoting 15 James W. Moore et al., Moore’s

Federal Practice and Procedure § 101.70[1] (3d ed. 2006)). If a case is not ripe, it is

not justiciable because a decision would result only in an advisory opinion. Energy

P’rs, Ltd. v. Stone Energy Corp., No. 2402, 2006 WL 2947483, at *6 (Del. Ch. Oct.

11, 2006) (“Delaware courts must decline to exercise jurisdiction over cases in




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which a controversy has not yet matured, to avoid rendering advisory opinions.”)

(internal quotation marks omitted).

      In determining whether an issue is ripe, Delaware courts employ a five-part

balancing test that involves:

          (1) a practical evaluation of the legitimate interests of the
          plaintiff in a prompt resolution of the question presented; (2) the
          hardship that further delay may threaten; (3) the prospect of
          future factual development that might affect the determination
          made; (4) the need to conserve scarce resources; and (5) a due
          respect for identifiable policies of law touching upon the subject
          matter in dispute.

Monsanto, 565 A.2d at 274. More generally, “[t]he Court must use its judicial

discretion based on the factors of each case to weigh the interests of an early

resolution of the controversy, judicial economy and legal stability which, when

taken together, may in some cases require dismissal of the declaratory judgment

action.” Id. In this case, the five “ripeness” factors favor dismissal.

      As applied to MAIC, both Counts II and III of the Complaint fail the

“ripeness” requirement. Specifically, with respect to the first “ripeness” factor,

Sycamore has not alleged any current liability on behalf of MAIC for Defense

Expenses that even remotely approach MAIC’s $10,000,000 excess of $50,000,000

Limit of Liability. Likewise, Sycamore has not alleged that any hypothetical

settlement will exhaust the Underlying Insurance and trigger coverage under the

MAIC Excess Policy. In fact, Sycamore’s Complaint acknowledges that there is


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presently no settlement for which it is seeking indemnification. See Compl. ¶ 9

(stating “Insurers are obligated to provide coverage for any settlement of the Nine

West Claims” as opposed to the settlement because there is no settlement); ¶ 42

(proposed “restricting agreements” of Nine West, which demanded that Sycamore

pay settlement funds to compensate for the alleged damages”); ¶ 43 (“[T]he Nine

West bankruptcy estate . . . became empowered to . . . negotiate potential settlements

. . . .”). As exhaustion is required to trigger the MAIC Excess Policy, which has

neither occurred nor been alleged, there is thus no “legitimate interest[] . . . in a

prompt resolution of the question,” Monsanto, 565 A.2d at 274, of MAIC’s

obligation to reimburse Defense Expenses and/or contribute to an unknown

settlement under the MAIC Excess Policy at this time. Any request by Sycamore is

therefore premature. Accordingly, because Sycamore cannot have a “legitimate

interest” in pursuing a tentative and non-binding determination, the first “ripeness”

factor favors dismissal.

      Second, Sycamore will suffer no “hardship” from any delay in resolving its

claims against MAIC. It is too early to know if Sycamore’s claims against the

Defendant Insurers generally, and MAIC specifically, will ripen. The Defendant

Insurers’ liability to Sycamore is entirely contingent upon numerous factors, which

may or may not ever materialize, making Sycamore’s Defense Expense and

indemnification claims unripe. As there is no settlement for which Sycamore can


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seek indemnification, adjudicating the Defendant Insurers’ indemnification

obligations prospectively in these circumstances would be inappropriate and could

only result in an impermissible advisory opinion. MAIC is not liable to Sycamore at

this time and its absence from this litigation does no harm. However, so long as

MAIC remains a defendant, it will be forced to incur substantial litigation costs

defending itself in this premature action. Thus, it is MAIC, not Sycamore, which

will suffer “hardship” if the claims against it are not dismissed. See Monsanto, 565

A.2d at 274.

      Third, “the prospect of future factual development that might affect the

determination made” also strongly favors MAIC.          Not until the Defendants

understand and appreciate the facts of the specific Claim for which Sycamore may

ultimately be seeking coverage can such coverage be determined. Sycamore’s

simplistic assertions that by its mere purchase of a policy of insurance, it is

guaranteed coverage, misses the mark. Coverage under the Policies applies subject

to their terms, conditions and exclusions, which need to be considered in

conjunction with the details of the Claim to determine the existence, if any, of

coverage. For example, each of the Polices issued by the Excess Insurers requires

exhaustion, and the Complaint does not allege, and cannot allege, that exhaustion

has in fact occurred. Also, the Policies are reimbursement policies and not duty to

defend policies and provide reimbursement only for reasonable, covered Defense


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Expenses.    Therefore, the Defendant Insurers have no duty to defend or

contemporaneously reimburse Defense Expenses. All the Defendant Insurers are

required to do is to pay covered Loss for covered Claims. There is no allegation or

indication that any of the Defense Expenses are reasonable and covered. None of

the invoices have been submitted for the Defendants or this Court to consider. How

can the Court make the determination of covered Loss without seeing the invoices or

other information relative to the incurred amounts?

      In addition, the request for this Court to declare that the Defendant Insurers

are required to indemnify all amounts of any settlement is without basis. The MAIC

Excess Policy includes a Pending and Prior Litigation Exclusion that precludes

coverage for any Claims made against Sycamore “based upon, arising from, or in

consequence of any demand, suit, or other proceeding pending, or order, decree or

judgment entered against any Insured prior to [December 31, 2016], or the same or

substantially the same fact, circumstance or situation underlying or alleged therein.”

Pending and Prior Litigation Endorsement (Form MGEM 4303 12 15). Also, at the

time of the issuance of certain excess policies, Sycamore warranted that it had no

knowledge of any facts or circumstances that may give rise to a Claim. This

preliminarily appears to be a false statement, and a determination of whether any

indemnity is owing could center on the knowledge of various individuals within

Sycamore—presumably, none of whom reside in Delaware or are subject to


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subpoena by Delaware courts.4 Sycamore also agreed that “any claim based upon,

arising from, or [] any act, error, omission of which any such person has any actual

knowledge or information will be excluded from coverage under the [MAIC Excess

Policy].” December 31, 2016 Warranty Letter. Because this lawsuit is premature,

there is no way to know if any potential Claim or settlement for which Sycamore

demands reimbursement and indemnification will fall within the parameters of the

aforementioned exclusion or warranty.5 Currently, it is impossible to guess what

facts may bear on the availability of coverage. Thus, the third “ripeness” factor also

favors dismissal.

      Fourth, for all of the reasons stated herein, “the need to conserve scarce

resources” factor also strongly favors MAIC’s dismissal in order to spare MAIC

from having to incur the costs of futile litigation and having this Court manage the

needless litigation.

      Finally, a “due respect for identifiable policies of law touching upon the

subject matter in dispute” cautions against premature judgment, wasteful litigation

and what would amount to an unenforceable determination as to MAIC’s liability.

One “identifiable polic[y] of law” in the evaluation of this fifth prong of the

4
  It is conceivable given the intense factual issues that would arise regarding
indemnity coverage, in light of the warranty by Sycamore, that Sycamore would
move to stay this litigation.
5
  MAIC believes that the September 11, 2018 demand letter sets forth facts which, if
true, would constitute knowledge and a breach of the warranty.

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“ripeness” test is the risk of an incorrect decision or error in the development of the

law. See Schick Inc. v. Amalgamated Clothing & Textile Workers Union, 533 A.2d

1235, 1239 (Del. Ch. 1987) (“To address a matter before the facts surrounding the

dispute are fully developed necessarily not only increases the risk of an incorrect

judgment in the particular case, but risks, as well, an inappropriate or unnecessary

step in the incremental law building process itself.”). Due to the fact there is no

judgment or settlement for the Defendant Insurers to consider whether

indemnification is even warranted pursuant to the express terms of the Policies, the

risk of an incorrect judgment is inherently increased.        Accordingly, the fifth

“ripeness” factor requires dismissal of Counts II and III as alleged against MAIC.

      B.     Sycamore Failed To Allege Exhaustion As Required By The Terms Of
             The Policies.

      Coverage under the MAIC Excess Policy has not been triggered by

exhaustion of the Underlying Insurance, which is an indispensable condition

precedent. See, e.g., Qualcomm, Inc. v. Certain Underwriters at Lloyd’s, London,

161 Cal. App. 4th 184, 195 (2008) (no excess coverage absent exhaustion of

underlying insurance by actual payment).6 Sycamore appears to contend that it is

entitled to coverage, be it reimbursement for Defense Expenses or indemnity for a


6
 New York law is not materially different from California regarding exhaustion of
an excess policy requiring payment of its underlying limits whether by the Insurers
or other parties. See Cooper v. Certain Underwriters at Lloyd’s, London, No.:
2:14-cv-07475-FMO-MAN, 2018 WL 1548208, at *1 (9th Cir. Mar. 30, 2018).

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settlement, from an excess insurer even when the insured has not received payment

from the primary insurer sufficient to exhaust the underlying primary limit. Thus, in

contravention of legal authority and the express terms of the Policies, Sycamore

seeks a declaration that MAIC’s excess coverage obligations to Sycamore are not

contingent upon exhaustion of the limit of the underlying insurance and that the

Excess Insurers are obligated to pay all Defense Expenses and any settlement.

However, the “[p]lain policy language on exhaustion . . . will control.” Intel Corp. v.

Am. Guar. & Liability Ins. Co., 51 A.3d 442, 450 (Del. 2012).

      Sycamore contends that MAIC, as an Excess Carrier, must pay all submitted

invoices for Defense Expenses notwithstanding the MAIC Excess Policy does not

provide for that. The Defendants, including MAIC, are only obligated to pay

reasonable and covered Defense Expenses incurred by Sycamore. There is no

indication in Sycamore’s Complaint that Defense Expenses are or ever will

approach the layer of the MAIC Excess Policy, which would require Sycamore to

incur more than $50,000,000 in Defense Expenses (plus Sycamore’s $500,000

retention). Therefore, MAIC has no obligation under the MAIC Excess Policy until

a determination has been made that Defense Expenses are reasonable and covered

and all Underlying Insurance has been exhausted.

      Any obligation MAIC has under the MAIC Excess Policy is triggered “only

after the insurers of the Underlying Insurance, an excess difference-in-conditions


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(“DIC”) insurer, the Insureds, or parties on behalf of the Insureds pay in legal

currency as loss covered under the Underlying Insurance, the full amount of the

Underlying Limit.” Amended Insuring Agreement (Form MAUB 1503 01 15).

Therefore, specifically, MAIC’s coverage obligation as to Count II and/or Count III

is not triggered until exhaustion of the $50 million Underlying Insurance plus

Sycamore’s $500,000 retention, and nowhere in the Complaint does Sycamore

allege as much and there is no evidence to suggest exhaustion has occurred.

Accordingly, Sycamore fails to state a claim for relief as to Count II and Count III.

      C.     This Action Should Be Dismissed Based On Forum Non Conveniens.

      As the Delaware Supreme Court recently reiterated, there are three

“procedural postures of forum non conveniens disputes: a first-filed Delaware case

with no case pending elsewhere (the Cryo-Maid test); a second-filed Delaware case

with another first-filed case pending elsewhere (the McWane test); and . . . a

later-filed Delaware case after another jurisdiction had dismissed a first-filed case

for forum non conveniens.” Aranda v. Philip Morris USA Inc., No. 525, 2016, 183

A.3d 1245, 1250 (Del. 2018).

      In this instance, arguably, with the pendency of the Nine West Bankruptcy

action, there is a first-filed action in another forum, and the McWane test controls.

To that end, the Delaware Supreme Court has long held that Delaware courts have

broad discretion to dismiss an action in a later-filed lawsuit where there are earlier


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filed actions regarding similar issues in a foreign jurisdiction. See McWane Cast

Iron Pipe Corp. v. McDowell-Wellman Eng’g Co., 263 A.2d 281, 283 (Del. 1970)

(“[A]s a general rule, litigation should be confined to the forum in which it is first

commenced, and a defendant should not be permitted to defeat the plaintiffs choice

of forum in a pending suit by commencing litigation involving the same cause of

action in another jurisdiction of its own choosing . . . .”).

             1.     The Application Of The McWane Test

      The first McWane factor considers whether there is a prior action pending

elsewhere. Arguably, the Nine West Bankruptcy action pending in the Southern

District of New York is inextricably intertwined with this action and should be

viewed as first-filed. It is that Bankruptcy Court that will ultimately control the

ability to bring or settle the litigation against Sycamore—the same litigation for

which Sycamore seeks coverage in this action. In addition, any disputes regarding

any such potential litigation and settlement will be appealed from the Bankruptcy

Court to the District Court of the Southern District of New York. Subsequent to the

Nine West Bankruptcy action, Sycamore filed this action despite the fact reactive

lawsuits are disfavored in Delaware. See Dura Pharms., Inc. v. Scandipharm, Inc.,

713 A.2d 925, 929 (Del. Ch. 1998) (allowing a “second-filed reactive Delaware

action [to] succeed in ousting a foreign plaintiff of its choice of forum . . . would

undermine the very considerations of comity and efficiency on which the general


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rule of McWane is based . . . .”). This factor favors dismissal of this action in favor

of another forum.

      The second McWane factor is whether the prior action is in a court capable of

doing prompt and complete justice. Any coverage litigation should take place in the

Southern District of New York based on the factors noted herein. The District Court

is fully capable of providing prompt and complete justice. New York law should

apply to the coverage dispute. The Plaintiffs’ principal place of business is in New

York. The conduct underlying the Nine West Bankruptcy action and any coverage

litigation occurred in New York. The great majority of witnesses relevant to the

coverage dispute reside in New York and virtually all relevant documents are

maintained in New York. There is no question that the District Court of the

Southern District of New York can do prompt and complete justice.

      The third McWane factor is whether the two actions involve the same parties

and substantially the same issues. “Consistent with the McWane doctrine generally,

the ‘same parties, same issues’ analysis focuses on substance over form.” Kurtin v.

KRE LLC, 2005 WL 1200188, at *4 (Del. Ch. May 16, 2005). “The captions need

not be exact replicas, nor must the counts in each complaint be identical.”

Diedenhofen-Lennartz v. Diedenhofen, 931 A.2d 439, 446 (Del. Ch. 2007); see also

Gen. Video Corp v. Kertesz, 2006 WL 2051023, at *4 (Del. Ch. July 19, 2006) (“An




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absolute identity of the parties and issues is not necessary for a dismissal or stay

under McWane.”).

         Once the Nine West Bankruptcy action has authorized litigation against

Sycamore, the two actions will both involve Sycamore. More importantly, the

substantive issues involved in each action are substantially similar. Both actions

will focus on the underlying conduct of Sycamore for purposes of litigation against

Sycamore based on the Nine West Bankruptcy action and for a determination of

coverage under the policies of insurance issued by the Defendant Insurers. Simply

put, the subsequent coverage litigation arises out of the same set of facts as the Nine

West Bankruptcy action. This factor favors dismissal of this action.

               2.     The Application of the Cryo-Maid Test

         Should this Court determine that the Nine West Bankruptcy action is not a

first-filed action, then the Cryo-Maid test applies to determine dismissal. The

Cryo-Maid test requires consideration of:

         (1)   the relative ease of access to proof;
         (2)   the availability of compulsory process for witnesses;
         (3)   the possibility of the view of the premises;7
         (4)   whether the controversy is dependent upon the application of
               Delaware law, which the courts of this State more properly
               should decide than those of another jurisdiction;
         (5)   the pendency or non-pendency of a similar action or actions in
               another jurisdiction; and
         (6)   all other practical problems that would make the trial of the case
               easy, expeditious and inexpensive.
7
    This factor is not impacted in this matter.

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Martinez v. E.I. DuPont de Nemours and Co., Inc., 86 A.3d 1102, 1104 (Del. 2014)

(citing Gen. Foods Corp. v. Cryo-Maid, Inc., 198 A.2d 681 (Del. 1964)).

       However, the Delaware Supreme Court has noted that the issue is not the

number of factors favoring one side or the other, but “whether any or all of the

Cryo-Maid factors establish that defendant will suffer overwhelming hardship and

inconvenience if forced to litigate in Delaware.” Chrysler First Bus. Credit Corp. v.

1500 Locust Ltd. Partnership, 669 A.2d 104, 108 (Del. 1995). Furthermore, this

Court “may permissibly exercise its discretion under Cryo-Maid to weigh

appropriately the [Defendant Insurers’] interest in obtaining an authoritative ruling

from the relevant foreign courts on the legal issue on which its liability hinges, as

distinguished from a predictive, non-authoritative ruling by our courts.” Martinez,

86 A.3d at 1111; see also Williams Gas Supply Co. v. Apache Corp., No.:

90C-AU-1, 1991 WL 18091, at *4 (Del. Super. Feb. 12, 1991) (“This Court

recognizes that the interests of other States in a dispute should not be usurped by

Delaware, where the only nexus to Delaware is the incorporation of one or both of

the parties.”).

                    i.    The Evidence And Witnesses Are Located In New York.

       As set forth in the Complaint, all of the parties’ principal places of business

are located in places other than Delaware. See Compl. ¶¶ 10-12: Plaintiffs—New

York; ¶¶ 13, 17, 21: Defendants Endurance, Starr, and Ironshore—New York; ¶¶ 14,


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15: Defendants CNA and Zurich—Illinois; ¶ 16: Defendant XL—Connecticut; ¶ 18:

Defendant MAIC—Virginia; ¶ 19: Defendant Argonaut—Texas; ¶ 20: Defendant

Great American—Ohio; ¶ 22: Defendant Everest—New Jersey. As these entities

are not located in in Delaware, none of the witnesses or evidence is located in

Delaware. This factor weighs in favor of dismissal.

                    ii.    Determinations Of Coverage Under The Policies Would
                           Be Governed By New York Law.

      As the Policies were negotiated and issued to an insured located in New York

and the conduct at issue occurred in New York, it is only reasonable that the claims

are governed by New York law. See Williams, 1991 WL 18091, at *3 (“While it is

not unusual for courts of this State to deal with questions arising under the law of

other jurisdictions, the fact that Delaware law will likely not apply does weigh in

favor of the defendant’s motion.”). Accordingly, as Delaware law will not apply to

resolution of the coverage issues, this factor favors dismissal.

                    iii.   Practical Problems That Would Make the Case Easy,
                           Expeditious and Inexpensive to Try.

      Any litigation in this action against any of the Defendant InsurersSycamore

Insureds has to be authorized by the United States Bankruptcy Court for the

Southern District of New York in which the Nine West Bankruptcy action is

pending. Further, any settlement of this action has to be approved by the United

States Bankruptcy Court for the Southern District of New York. Should litigation be


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approved by the Bankruptcy Court and a settlement thereof, they would both be

subject to the views of all of the other constituencies in the bankruptcy, none of

whom may be located in Delaware.

                   iv.    Pendency Of Another Action.

      As discussed above, the Nine West Bankruptcy action is a prior pending

action. As a result, this Court should dismiss this case and order that it should be

properly filed in New York. This factor therefore also favors dismissal.

IV.   CONCLUSION

      Because Sycamore’s Complaint, specifically the two Counts alleged against

MAIC, fails to state a claim on which relief may be granted, and because Sycamore

has failed to and cannot meet its burden to demonstrate the existence of a ripe

controversy within this Court’s jurisdiction, MAIC respectfully requests that the

Court dismiss Counts II and III of the Complaint as alleged against MAIC with

prejudice and without the right to replead.

      In the alternative, this Court should dismiss this action based on forum non

conveniens for the reasons set forth herein.




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   Insertions                                    7
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             EXHIBIT A: Redline of Corrected Brief in Support of Defendant MAIC's Motion to Dismiss




                                 General Information



Court                            Delaware Superior Court, New Castle County

Docket Number                    N18C-09-211




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                                                 EFiled: Oct 16 2018 05:20PM EDT
                                                 Transaction ID 62565945
                                                 Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS           )
 MANAGEMENT, L.P. (F/K/A     )
                             )
 SYCAMORE PARTNERS
                             )
 MANAGEMENT, L.L.C.),        )
 SYCAMORE PARTNERS, L.P., and)
 SYCAMORE PARTNERS A, L.P.,  )
                             )
           Plaintiffs,       )
                             )
 v.
                             )              C.A. NO.: N18C-09-211 AML
                             )
 ENDURANCE AMERICAN                         (CCLD)
                             )
 INSURANCE COMPANY,          )
 CONTINENTAL CASUALTY        )
 COMPANY, ZURICH AMERICAN    )
                             )
 INSURANCE COMPANY, XL
                             )
 SPECIALTY INSURANCE         )
 COMPANY, STARR INDEMNITY & )
 LIABILITY COMPANY, MARKEL   )
 AMERICAN INSURANCE          )
 COMPANY, ARGONAUT           )
                             )
 INSURANCE COMPANY, GREAT
                             )
 AMERICAN INSURANCE          )
 COMPANY, IRONSHORE          )
 INDEMNITY INC., and EVEREST )
 NATIONAL INSURANCE COMPANY )
                             )
                             )
            Defendants.

     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
    CORRECTED* BRIEF IN SUPPORT OF ITS MOTION TO DISMISS




___________________
* This Corrected Brief replaces “Defendant Insurers” with “Sycamore Insureds” on
page 22.
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     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
     CORRECTED BRIEF IN SUPPORT OF ITS MOTION TO DISMISS

      Defendant Markel American Insurance Company (“MAIC”), through its

undersigned counsel, hereby files the instant Motion to Dismiss the Complaint

filed by Plaintiffs Sycamore Partners Management, L.P. (f/k/a Sycamore Partners

Management, L.L.C.), Sycamore Partners, L.P., and Sycamore Partners A, L.P.

(collectively “Plaintiffs” or “Sycamore”).

I.    INTRODUCTION

      Sycamore seeks by this lawsuit to compel the Defendant Insurers to fully

pay an unidentified settlement of a yet to be filed litigation and all Defense

Expenses submitted without regard to the contents of the applicable Policies and

the nature of the Defense Expenses. That is simply not what either the law or the

Policies require.

      While the Defendant Insurers are not even aware of the full details of any

Claims to be asserted against Sycamore, they have been sued for failing to blindly

agree to provide coverage under their respective policies of insurance for unknown

Claims and Defense Expenses. In light of what the Complaint does not allege and

cannot allege, this action is not ripe for adjudication because Sycamore cannot

meet its burden to demonstrate an “actual controversy” exists between it and

MAIC, and the action fails to state a claim as to MAIC for which relief may be

granted. While Sycamore may surmise as to what it thinks the Claims will be,
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until the facts and claims are set forth, there is no way for MAIC to ascertain

whether or not there is coverage for any potential, yet unidentified, settlement.

Accordingly, Sycamore’s request is not sufficiently ripe to implicate this Court’s

subject matter jurisdiction and fails to state a claim such that it should be

dismissed.

      Notwithstanding the failure to identify the Claims for which coverage is

sought, Sycamore also fails to recognize that MAIC has no obligation to provide

coverage under the Excess Follow Form, Policy No. MKLM6EL0002892 (the

“MAIC Excess Policy”), which MAIC issued to Sycamore, until such time as the

Underlying Insurance in the amount of $50,000,000 has been exhausted by

payment of covered Loss. Sycamore did not and cannot allege that the Underlying

Insurance in the amount of $50,000,000 has been exhausted by the actual payment

of reasonable, covered Loss. Therefore, MAIC has no obligation to reimburse all

Defense Expenses and/or indemnify any settlement until exhaustion of Underlying

Insurance. Accordingly, for Sycamore’s failure to state a claim for which relief can

be granted, this action should be dismissed.

      It is apparent as well that this Complaint should also be dismissed based on

forum non conveniens. The only connection to Delaware is that some of the parties

are organized under Delaware law. Otherwise, the parties’ principal places of

business are in New York or locations other than Delaware.            The conduct


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underlying the potential Claim and/or settlement occurred in New York. The

bankruptcy of Nine West is pending in the Southern District of New York. The

MAIC Excess Policy was issued in New York. Premiums were paid in New York.

New York law will apply to coverage determinations.             Given the strong

connections this dispute has to New York, it should be dismissed to allow for it to

be re-filed in New York.

      MAIC respectfully requests that this Court dismiss with prejudice Counts II

and III as to MAIC and without leave to replead pursuant to Superior Court Rules

of Civil Procedure 12(b)(1) and/or 12(b)(6), or in the alternative, dismiss this

action based on forum non conveniens.

II.   FACTUAL BACKGROUND

      A.    Nature of the Proceedings

      Sycamore has filed the Complaint asserting causes of action against MAIC

for declaratory judgment. MAIC moves to dismiss the Complaint under Superior

Court Rules of Civil Procedure 12(b)(1) due to lack of ripeness and 12(b)(6) for

failure to state a claim on which relief may be granted. MAIC is also seeking

dismissal based on forum non conveniens.




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        B.    Statement of Relevant Facts

              1.    The Policies of Underlying Insurance

        MAIC issued to Sycamore Partners Management, L.P., as the Named

Insured, an Excess Follow Form Policy, No. MKLM6EL0002892 (the “MAIC

Excess Policy”) for the Policy Period of December 31, 2015 to June 30, 2018. The

MAIC Excess Policy, except as stated otherwise, “shall provide the Insureds with

insurance in accordance with the terms, conditions and exclusions set forth in the

Followed Policy and, to the extent coverage is further limited or restricted thereby,

in any other Underlying Insurance.” Amended Insuring Agreement (Form MAUB

1503 01 15). MAIC’s obligations, if any, are triggered “only after the insurers of

the Underlying Insurance, an excess difference–in-conditions (“DIC”) insurer, the

Insureds, or parties on behalf of the Insureds pay in legal currency as loss covered

under the Underlying Insurance the full amount of the Underlying Limit.” Id.

MAIC’s maximum aggregate liability for all Loss covered under its policy is

$10,000,000 excess of $50,000,000.

        The Followed Policy was issued by Endurance American Insurance

Company (“Endurance”)1 and has aggregate combined Limits of Liability for all

Loss, including Defense Expenses, of $10,000,000 per Claim and in the aggregate

excess of a $500,000 Retention.       The Underlying Insurance consists of the


1
    Endurance is now a member of the Sompo International Companies (“Sompo”).

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Followed Policy plus four other excess policies of insurance, each of which has

aggregate Limits of Liability of $10,000,000.2

            2.     Allegations of the Complaint

      Sycamore is a private equity group, located at 9 West 57th Street, New

York, New York, that consists of entities that, respectively, manage and hold

investments in portfolio companies through a variety of strategies, including

leveraged buyouts, distressed buyouts, corporate carve-outs, and debt investments.

(Compl. ¶ 2.) Starting in August of 2017, various parties began to assert claims

against Sycamore alleging that Sycamore and various Sycamore Individuals (as

those terms are defined in the Complaint) committed wrongful acts in connection

with Sycamore’s investment in and transactions involving a portfolio company

called Nine West Holdings, Inc. (“Nine West”). (Compl. ¶ 5.) Over the following

months, creditors of Nine West asserted additional Claims against Sycamore and

Sycamore Individuals, including but not limited to in various proposed

“restructuring agreements” of Nine West, which demanded that Sycamore pay

settlement funds to compensate for the alleged damages caused by Sycamore and

the Sycamore Individuals to Nine West and its creditors. (Compl. ¶ 42.)




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 The insurers of the Underlying Insurance are Endurance, Continental Casualty
Company, Zurich American Insurance Company, XL Specialty Insurance
Company and Starr Indemnity & Liability Company.

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      Nine West and certain affiliated companies subsequently filed for Chapter

11 petitions on April 6, 2018 in the United States Bankruptcy Court for the

Southern District of New York, at which time the Nine West bankruptcy estate

became empowered to pursue claims against Sycamore and the Sycamore

Individuals and negotiate potential settlement of such claims.3      (Compl. ¶ 5.)

Specifically, the Nine West bankruptcy estate — through the disinterested directors

of Nine West — became empowered to pursue all Claims against Sycamore and

the Sycamore Individuals (again, the “Nine West Claims”) and to negotiate

potential settlements of the Nine West Claims with Sycamore. The Nine West

Claims include, among others, alleged fraudulent conveyances, breaches of

fiduciary duty and aiding and abetting breaches of fiduciary duty. (Compl. ¶ 43.)

      On September 11, 2018, the disinterested directors of Nine West and the

Committee of Unsecured Creditors of Nine West sent a written demand letter to

Sycamore. This demand letter reiterated and alleged the Nine West Claims against

Sycamore and the Sycamore Individuals, including various alleged breaches of

fiduciary duties and aiding and abetting of breaches of fiduciary duties. (Compl. ¶

44.) The demand letter further provided that it was not intended to express each




3
  This allegation may not be accurate, as it is MAIC’s understanding that the
Bankruptcy Court has not yet provided its authority to creditors and/or a trustee to
pursue any claims.

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and every claim that may be asserted against the Sycamore Defendants or others,

nor to detail every relevant fact or even to highlight the most important facts.

       Allegedly, Sycamore has already incurred several million dollars of Defense

Expenses in the investigation and defense of the claims asserted against Sycamore

and the Sycamore Individuals (the “Nine West Claims”) and continues to incur

substantial Defense Expenses. (Compl. ¶¶ 6, 45.)           By this action, Plaintiffs

accordingly seek declarations that (a) the Insurers are obligated to provide

coverage for all Defense Expenses incurred for the Nine West Claims and (b) the

Insurers are obligated to provide coverage for any settlement of the Nine West

Claims. (Compl. ¶ 9.)

III.   ARGUMENT

       A declaratory judgment action presents an actual controversy if “the facts

alleged, under all the circumstances, show that there is a substantial controversy,

between parties having adverse legal interests, of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment.” Md. Cas. Co. v. Pac. Coal &

Oil Co., 312 U.S. 270, 273 (1941). Under Superior Court Civil Rule 12(b)(6), the

Court may dismiss a plaintiff’s claim for “failure to state a claim upon which relief

can be granted.” Super. Ct. Civ. R. 12(b)(6). “The Court must determine whether

the claimant may recover under any reasonably conceivable set of circumstances

susceptible of proof [and] accept as true all non-conclusory, well-pleaded


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allegations.” LaFayette v. Christian, No. N12C-04-163 MMJ, 2012 WL 3608690,

at *1 (Del. Super. Aug. 21, 2012) (internal citation and quotation marks omitted).

The Court may consider documents attached to or incorporated by reference in the

complaint, matters “integral” to the complaint, and facts of which a court may take

judicial notice, such as publicly-filed documents and matters that are not the

subject of reasonable dispute. See Cornell Glasgow v. LaGrange Props., LLC, No.

N11C-07-160 JRS CCLD, 2012 WL 3157124, at *3 n.28 (Del. Super. Aug. 1,

2012); Prather v. Doroshow, Pasquale, Krawitz & Bhaya, No. 11 C-02-139 RRC,

2011 WL 1465520, at *1 n.2 (Del. Super. Apr. 14, 2011). Conclusions “will not

be accepted as true without specific allegations of fact to support them.” In re

Tri-Star Pictures, Inc. Litig., 634 A.2d 319, 326 (Del. 1993).

      “Unlike the standards employed in Rule 12(b)(6) analysis, the guidelines for

the Court’s review of [a] Rule 12(b)(1) motion are far more demanding of the

non-movant. The burden is on Plaintiffs to prove jurisdiction exists. Further, the

Court need not accept Plaintiffs[’] factual allegations as true and is free to consider

facts not alleged in the complaint.” Appriva S’holder Litig. Co. v. ev3, Inc., 937

A.2d 1275, 1284 n.14 (Del. 2007) (first alteration in original) (citation omitted).

      A. Counts II and III, As Alleged Against MAIC, Are Not Ripe For
         Adjudication And Based On Their Prematurity Should Be Dismissed.

      Count II of the Complaint seeks a declaration that MAIC, as an Excess

Insurer, is required to pay all Defense Expenses in excess of the $10,000,000 limit
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of the primary, Followed Policy (Compl. ¶ 66.) Count III seeks a declaration that

the Defendant Insurers, including MAIC, are obligated to provide coverage to

Sycamore for any settlement of the Nine West Claims. (Compl. ¶ 75.) However,

as these two counts apply to MAIC, neither claim presents a justiciable controversy

because there are too many unknown factors and contingencies relative to the

exhaustion of the $50,000,000 in insurance underlying the MAIC Excess Policy,

which is required to be exhausted prior to any obligation on the part of MAIC.

Indeed, MAIC’s current participation in this action is premature and a waste of this

Court’s limited resources.

      In order for a claim to present an actual case or controversy, “the issue

involved in the controversy must be ripe for judicial declaration.” Monsanto Co. v.

Aetna Casualty and Surety Co., 565 A.2d. 268, 274 (Del. Super. 1989). “Ripeness,

the simple question of whether a suit has been brought at the correct time, goes to

the very heart of whether a court has subject matter jurisdiction.” Bebchuk v. CA,

Inc., 902 A.2d 737, 740 (Del. Ch. 2006) (quoting 15 James W. Moore et al.,

Moore’s Federal Practice and Procedure § 101.70[1] (3d ed. 2006)). If a case is

not ripe, it is not justiciable because a decision would result only in an advisory

opinion. Energy P’rs, Ltd. v. Stone Energy Corp., No. 2402, 2006 WL 2947483, at

*6 (Del. Ch. Oct. 11, 2006) (“Delaware courts must decline to exercise jurisdiction




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over cases in which a controversy has not yet matured, to avoid rendering advisory

opinions.”) (internal quotation marks omitted).

      In determining whether an issue is ripe, Delaware courts employ a five-part

balancing test that involves:

          (1) a practical evaluation of the legitimate interests of the
          plaintiff in a prompt resolution of the question presented; (2)
          the hardship that further delay may threaten; (3) the prospect of
          future factual development that might affect the determination
          made; (4) the need to conserve scarce resources; and (5) a due
          respect for identifiable policies of law touching upon the
          subject matter in dispute.

Monsanto, 565 A.2d at 274. More generally, “[t]he Court must use its judicial

discretion based on the factors of each case to weigh the interests of an early

resolution of the controversy, judicial economy and legal stability which, when

taken together, may in some cases require dismissal of the declaratory judgment

action.” Id. In this case, the five “ripeness” factors favor dismissal.

      As applied to MAIC, both Counts II and III of the Complaint fail the

“ripeness” requirement. Specifically, with respect to the first “ripeness” factor,

Sycamore has not alleged any current liability on behalf of MAIC for Defense

Expenses that even remotely approach MAIC’s $10,000,000 excess of $50,000,000

Limit of Liability. Likewise, Sycamore has not alleged that any hypothetical

settlement will exhaust the Underlying Insurance and trigger coverage under the

MAIC Excess Policy. In fact, Sycamore’s Complaint acknowledges that there is


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presently no settlement for which it is seeking indemnification. See Compl. ¶ 9

(stating “Insurers are obligated to provide coverage for any settlement of the Nine

West Claims” as opposed to the settlement because there is no settlement); ¶ 42

(proposed “restricting agreements” of Nine West, which demanded that Sycamore

pay settlement funds to compensate for the alleged damages”); ¶ 43 (“[T]he Nine

West bankruptcy estate . . . became empowered to . . . negotiate potential

settlements . . . .”). As exhaustion is required to trigger the MAIC Excess Policy,

which has neither occurred nor been alleged, there is thus no “legitimate interest[]

. . . in a prompt resolution of the question,” Monsanto, 565 A.2d at 274, of MAIC’s

obligation to reimburse Defense Expenses and/or contribute to an unknown

settlement under the MAIC Excess Policy at this time. Any request by Sycamore

is therefore premature. Accordingly, because Sycamore cannot have a “legitimate

interest” in pursuing a tentative and non-binding determination, the first “ripeness”

factor favors dismissal.

      Second, Sycamore will suffer no “hardship” from any delay in resolving its

claims against MAIC. It is too early to know if Sycamore’s claims against the

Defendant Insurers generally, and MAIC specifically, will ripen. The Defendant

Insurers’ liability to Sycamore is entirely contingent upon numerous factors, which

may or may not ever materialize, making Sycamore’s Defense Expense and

indemnification claims unripe. As there is no settlement for which Sycamore can


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seek indemnification, adjudicating the Defendant Insurers’ indemnification

obligations prospectively in these circumstances would be inappropriate and could

only result in an impermissible advisory opinion. MAIC is not liable to Sycamore

at this time and its absence from this litigation does no harm. However, so long as

MAIC remains a defendant, it will be forced to incur substantial litigation costs

defending itself in this premature action. Thus, it is MAIC, not Sycamore, which

will suffer “hardship” if the claims against it are not dismissed. See Monsanto, 565

A.2d at 274.

      Third, “the prospect of future factual development that might affect the

determination made” also strongly favors MAIC.          Not until the Defendants

understand and appreciate the facts of the specific Claim for which Sycamore may

ultimately be seeking coverage can such coverage be determined. Sycamore’s

simplistic assertions that by its mere purchase of a policy of insurance, it is

guaranteed coverage, misses the mark. Coverage under the Policies applies subject

to their terms, conditions and exclusions, which need to be considered in

conjunction with the details of the Claim to determine the existence, if any, of

coverage. For example, each of the Polices issued by the Excess Insurers requires

exhaustion, and the Complaint does not allege, and cannot allege, that exhaustion

has in fact occurred. Also, the Policies are reimbursement policies and not duty to

defend policies and provide reimbursement only for reasonable, covered Defense


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Expenses.    Therefore, the Defendant Insurers have no duty to defend or

contemporaneously reimburse Defense Expenses. All the Defendant Insurers are

required to do is to pay covered Loss for covered Claims. There is no allegation or

indication that any of the Defense Expenses are reasonable and covered. None of

the invoices have been submitted for the Defendants or this Court to consider.

How can the Court make the determination of covered Loss without seeing the

invoices or other information relative to the incurred amounts?

      In addition, the request for this Court to declare that the Defendant Insurers

are required to indemnify all amounts of any settlement is without basis. The

MAIC Excess Policy includes a Pending and Prior Litigation Exclusion that

precludes coverage for any Claims made against Sycamore “based upon, arising

from, or in consequence of any demand, suit, or other proceeding pending, or

order, decree or judgment entered against any Insured prior to [December 31,

2016], or the same or substantially the same fact, circumstance or situation

underlying or alleged therein.” Pending and Prior Litigation Endorsement (Form

MGEM 4303 12 15). Also, at the time of the issuance of certain excess policies,

Sycamore warranted that it had no knowledge of any facts or circumstances that

may give rise to a Claim. This preliminarily appears to be a false statement, and a

determination of whether any indemnity is owing could center on the knowledge of

various individuals within Sycamore—presumably, none of whom reside in


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Delaware or are subject to subpoena by Delaware courts.4 Sycamore also agreed

that “any claim based upon, arising from, or [] any act, error, omission of which

any such person has any actual knowledge or information will be excluded from

coverage under the [MAIC Excess Policy].” December 31, 2016 Warranty Letter.

Because this lawsuit is premature, there is no way to know if any potential Claim

or settlement for which Sycamore demands reimbursement and indemnification

will fall within the parameters of the aforementioned exclusion or warranty.5

Currently, it is impossible to guess what facts may bear on the availability of

coverage. Thus, the third “ripeness” factor also favors dismissal.

      Fourth, for all of the reasons stated herein, “the need to conserve scarce

resources” factor also strongly favors MAIC’s dismissal in order to spare MAIC

from having to incur the costs of futile litigation and having this Court manage the

needless litigation.

      Finally, a “due respect for identifiable policies of law touching upon the

subject matter in dispute” cautions against premature judgment, wasteful litigation

and what would amount to an unenforceable determination as to MAIC’s liability.

One “identifiable polic[y] of law” in the evaluation of this fifth prong of the

4
  It is conceivable given the intense factual issues that would arise regarding
indemnity coverage, in light of the warranty by Sycamore, that Sycamore would
move to stay this litigation.
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  MAIC believes that the September 11, 2018 demand letter sets forth facts which,
if true, would constitute knowledge and a breach of the warranty.

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“ripeness” test is the risk of an incorrect decision or error in the development of the

law. See Schick Inc. v. Amalgamated Clothing & Textile Workers Union, 533 A.2d

1235, 1239 (Del. Ch. 1987) (“To address a matter before the facts surrounding the

dispute are fully developed necessarily not only increases the risk of an incorrect

judgment in the particular case, but risks, as well, an inappropriate or unnecessary

step in the incremental law building process itself.”). Due to the fact there is no

judgment or settlement for the Defendant Insurers to consider whether

indemnification is even warranted pursuant to the express terms of the Policies, the

risk of an incorrect judgment is inherently increased.        Accordingly, the fifth

“ripeness” factor requires dismissal of Counts II and III as alleged against MAIC.

      B.     Sycamore Failed To Allege Exhaustion As Required By The Terms
             Of The Policies.

      Coverage under the MAIC Excess Policy has not been triggered by

exhaustion of the Underlying Insurance, which is an indispensable condition

precedent. See, e.g., Qualcomm, Inc. v. Certain Underwriters at Lloyd’s, London,

161 Cal. App. 4th 184, 195 (2008) (no excess coverage absent exhaustion of

underlying insurance by actual payment).6 Sycamore appears to contend that it is

entitled to coverage, be it reimbursement for Defense Expenses or indemnity for a


6
 New York law is not materially different from California regarding exhaustion of
an excess policy requiring payment of its underlying limits whether by the Insurers
or other parties. See Cooper v. Certain Underwriters at Lloyd’s, London, No.:
2:14-cv-07475-FMO-MAN, 2018 WL 1548208, at *1 (9th Cir. Mar. 30, 2018).

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settlement, from an excess insurer even when the insured has not received payment

from the primary insurer sufficient to exhaust the underlying primary limit. Thus,

in contravention of legal authority and the express terms of the Policies, Sycamore

seeks a declaration that MAIC’s excess coverage obligations to Sycamore are not

contingent upon exhaustion of the limit of the underlying insurance and that the

Excess Insurers are obligated to pay all Defense Expenses and any settlement.

However, the “[p]lain policy language on exhaustion . . . will control.” Intel Corp.

v. Am. Guar. & Liability Ins. Co., 51 A.3d 442, 450 (Del. 2012).

      Sycamore contends that MAIC, as an Excess Carrier, must pay all submitted

invoices for Defense Expenses notwithstanding the MAIC Excess Policy does not

provide for that. The Defendants, including MAIC, are only obligated to pay

reasonable and covered Defense Expenses incurred by Sycamore. There is no

indication in Sycamore’s Complaint that Defense Expenses are or ever will

approach the layer of the MAIC Excess Policy, which would require Sycamore to

incur more than $50,000,000 in Defense Expenses (plus Sycamore’s $500,000

retention). Therefore, MAIC has no obligation under the MAIC Excess Policy

until a determination has been made that Defense Expenses are reasonable and

covered and all Underlying Insurance has been exhausted.

      Any obligation MAIC has under the MAIC Excess Policy is triggered “only

after the insurers of the Underlying Insurance, an excess difference-in-conditions


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(“DIC”) insurer, the Insureds, or parties on behalf of the Insureds pay in legal

currency as loss covered under the Underlying Insurance, the full amount of the

Underlying Limit.” Amended Insuring Agreement (Form MAUB 1503 01 15).

Therefore, specifically, MAIC’s coverage obligation as to Count II and/or Count

III is not triggered until exhaustion of the $50 million Underlying Insurance plus

Sycamore’s $500,000 retention, and nowhere in the Complaint does Sycamore

allege as much and there is no evidence to suggest exhaustion has occurred.

Accordingly, Sycamore fails to state a claim for relief as to Count II and Count III.

      C.     This Action Should Be Dismissed Based On Forum Non Conveniens.

      As the Delaware Supreme Court recently reiterated, there are three

“procedural postures of forum non conveniens disputes: a first-filed Delaware case

with no case pending elsewhere (the Cryo-Maid test); a second-filed Delaware case

with another first-filed case pending elsewhere (the McWane test); and . . . a

later-filed Delaware case after another jurisdiction had dismissed a first-filed case

for forum non conveniens.” Aranda v. Philip Morris USA Inc., No. 525, 2016, 183

A.3d 1245, 1250 (Del. 2018).

      In this instance, arguably, with the pendency of the Nine West Bankruptcy

action, there is a first-filed action in another forum, and the McWane test controls.

To that end, the Delaware Supreme Court has long held that Delaware courts have

broad discretion to dismiss an action in a later-filed lawsuit where there are earlier


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filed actions regarding similar issues in a foreign jurisdiction. See McWane Cast

Iron Pipe Corp. v. McDowell-Wellman Eng’g Co., 263 A.2d 281, 283 (Del. 1970)

(“[A]s a general rule, litigation should be confined to the forum in which it is first

commenced, and a defendant should not be permitted to defeat the plaintiffs choice

of forum in a pending suit by commencing litigation involving the same cause of

action in another jurisdiction of its own choosing . . . .”).

             1.     The Application Of The McWane Test

      The first McWane factor considers whether there is a prior action pending

elsewhere. Arguably, the Nine West Bankruptcy action pending in the Southern

District of New York is inextricably intertwined with this action and should be

viewed as first-filed. It is that Bankruptcy Court that will ultimately control the

ability to bring or settle the litigation against Sycamore—the same litigation for

which Sycamore seeks coverage in this action. In addition, any disputes regarding

any such potential litigation and settlement will be appealed from the Bankruptcy

Court to the District Court of the Southern District of New York. Subsequent to

the Nine West Bankruptcy action, Sycamore filed this action despite the fact

reactive lawsuits are disfavored in Delaware.            See Dura Pharms., Inc. v.

Scandipharm, Inc., 713 A.2d 925, 929 (Del. Ch. 1998) (allowing a “second-filed

reactive Delaware action [to] succeed in ousting a foreign plaintiff of its choice of

forum . . . would undermine the very considerations of comity and efficiency on


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which the general rule of McWane is based . . . .”). This factor favors dismissal of

this action in favor of another forum.

      The second McWane factor is whether the prior action is in a court capable

of doing prompt and complete justice. Any coverage litigation should take place in

the Southern District of New York based on the factors noted herein. The District

Court is fully capable of providing prompt and complete justice. New York law

should apply to the coverage dispute. The Plaintiffs’ principal place of business is

in New York. The conduct underlying the Nine West Bankruptcy action and any

coverage litigation occurred in New York.        The great majority of witnesses

relevant to the coverage dispute reside in New York and virtually all relevant

documents are maintained in New York. There is no question that the District

Court of the Southern District of New York can do prompt and complete justice.

      The third McWane factor is whether the two actions involve the same parties

and substantially the same issues.       “Consistent with the McWane doctrine

generally, the ‘same parties, same issues’ analysis focuses on substance over

form.” Kurtin v. KRE LLC, 2005 WL 1200188, at *4 (Del. Ch. May 16, 2005).

“The captions need not be exact replicas, nor must the counts in each complaint be

identical.” Diedenhofen-Lennartz v. Diedenhofen, 931 A.2d 439, 446 (Del. Ch.

2007); see also Gen. Video Corp v. Kertesz, 2006 WL 2051023, at *4 (Del. Ch.




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July 19, 2006) (“An absolute identity of the parties and issues is not necessary for a

dismissal or stay under McWane.”).

         Once the Nine West Bankruptcy action has authorized litigation against

Sycamore, the two actions will both involve Sycamore. More importantly, the

substantive issues involved in each action are substantially similar. Both actions

will focus on the underlying conduct of Sycamore for purposes of litigation against

Sycamore based on the Nine West Bankruptcy action and for a determination of

coverage under the policies of insurance issued by the Defendant Insurers. Simply

put, the subsequent coverage litigation arises out of the same set of facts as the

Nine West Bankruptcy action. This factor favors dismissal of this action.

               2.     The Application of the Cryo-Maid Test

         Should this Court determine that the Nine West Bankruptcy action is not a

first-filed action, then the Cryo-Maid test applies to determine dismissal. The

Cryo-Maid test requires consideration of:

         (1)   the relative ease of access to proof;
         (2)   the availability of compulsory process for witnesses;
         (3)   the possibility of the view of the premises;7
         (4)   whether the controversy is dependent upon the application of
               Delaware law, which the courts of this State more properly
               should decide than those of another jurisdiction;
         (5)   the pendency or non-pendency of a similar action or actions in
               another jurisdiction; and
         (6)   all other practical problems that would make the trial of the
               case easy, expeditious and inexpensive.
7
    This factor is not impacted in this matter.

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Martinez v. E.I. DuPont de Nemours and Co., Inc., 86 A.3d 1102, 1104 (Del.

2014) (citing Gen. Foods Corp. v. Cryo-Maid, Inc., 198 A.2d 681 (Del. 1964)).

       However, the Delaware Supreme Court has noted that the issue is not the

number of factors favoring one side or the other, but “whether any or all of the

Cryo-Maid factors establish that defendant will suffer overwhelming hardship and

inconvenience if forced to litigate in Delaware.” Chrysler First Bus. Credit Corp.

v. 1500 Locust Ltd. Partnership, 669 A.2d 104, 108 (Del. 1995). Furthermore, this

Court “may permissibly exercise its discretion under Cryo-Maid to weigh

appropriately the [Defendant Insurers’] interest in obtaining an authoritative ruling

from the relevant foreign courts on the legal issue on which its liability hinges, as

distinguished from a predictive, non-authoritative ruling by our courts.” Martinez,

86 A.3d at 1111; see also Williams Gas Supply Co. v. Apache Corp., No.: 90C-

AU-1, 1991 WL 18091, at *4 (Del. Super. Feb. 12, 1991) (“This Court recognizes

that the interests of other States in a dispute should not be usurped by Delaware,

where the only nexus to Delaware is the incorporation of one or both of the

parties.”).

                    i.    The Evidence And Witnesses Are Located In New York.

       As set forth in the Complaint, all of the parties’ principal places of business

are located in places other than Delaware. See Compl. ¶¶ 10-12: Plaintiffs—New

York; ¶¶ 13, 17, 21: Defendants Endurance, Starr, and Ironshore—New York;


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¶¶ 14, 15: Defendants CNA and Zurich—Illinois; ¶ 16: Defendant XL—

Connecticut; ¶ 18: Defendant MAIC—Virginia; ¶ 19: Defendant Argonaut—

Texas; ¶ 20: Defendant Great American—Ohio; ¶ 22: Defendant Everest—New

Jersey. As these entities are not located in in Delaware, none of the witnesses or

evidence is located in Delaware. This factor weighs in favor of dismissal.

                    ii.    Determinations Of Coverage Under The Policies Would
                           Be Governed By New York Law.

      As the Policies were negotiated and issued to an insured located in New

York and the conduct at issue occurred in New York, it is only reasonable that the

claims are governed by New York law. See Williams, 1991 WL 18091, at *3

(“While it is not unusual for courts of this State to deal with questions arising

under the law of other jurisdictions, the fact that Delaware law will likely not apply

does weigh in favor of the defendant’s motion.”). Accordingly, as Delaware law

will not apply to resolution of the coverage issues, this factor favors dismissal.

                    iii.   Practical Problems That Would Make the Case Easy,
                           Expeditious and Inexpensive to Try.

      Any litigation in this action against any of the Sycamore Insureds has to be

authorized by the United States Bankruptcy Court for the Southern District of New

York in which the Nine West Bankruptcy action is pending.                Further, any

settlement of this action has to be approved by the United States Bankruptcy Court

for the Southern District of New York. Should litigation be approved by the


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Bankruptcy Court and a settlement thereof, they would both be subject to the views

of all of the other constituencies in the bankruptcy, none of whom may be located

in Delaware.

                   iv.    Pendency Of Another Action.

      As discussed above, the Nine West Bankruptcy action is a prior pending

action. As a result, this Court should dismiss this case and order that it should be

properly filed in New York. This factor therefore also favors dismissal.

IV.   CONCLUSION

      Because Sycamore’s Complaint, specifically the two Counts alleged against

MAIC, fails to state a claim on which relief may be granted, and because

Sycamore has failed to and cannot meet its burden to demonstrate the existence of

a ripe controversy within this Court’s jurisdiction, MAIC respectfully requests that

the Court dismiss Counts II and III of the Complaint as alleged against MAIC with

prejudice and without the right to replead.

      In the alternative, this Court should dismiss this action based on forum non

conveniens for the reasons set forth herein.




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        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 186 of 349 PageID #: 192




                                     CERTIFICATE OF SERVICE

                      I, Elena C. Norman, Esquire, hereby certify that on October 16, 2018,

                a copy of the foregoing document was served on the following counsel in the

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                                                     /s/ Elena C. Norman
                                                     Elena C. Norman (#4780)




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 187 of 349 PageID #: 193
                Corrected Brief in Support of Defendant MAIC's Motion to Dismiss with certificate




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            Amendment to Complaint Under Superior Court Rule 4(h) for Continental Casualty Company




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                Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Continental




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Attys. for Markel American Insurance
Company



                                              /s/ David J. Baldwin
                                              David J. Baldwin (No. 1010)
                                              Carla M. Jones (No. 6046)
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Company



                                              /s/ David J. Baldwin
                                              David J. Baldwin (No. 1010)
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                Lander, Nathan R.: Proposed Order granting the Motion for Admission Pro Hac Vice on




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                                                        Transaction ID 62548970
                                                        Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS                                 )
 MANAGEMENT, L.P. (F/K/A                           )
 SYCAMORE PARTNERS                                 )
 MANAGEMENT, L.L.C.), SYCAMORE                      )
 PARTNERS, L.P., and SYCAMORE                       )
 PARTNERS A, L.P.,                                  )
                                                    )
                              Plaintiffs,           )
                                                    )
              V.                                    ) C.A. No. N18C-09-211 AML CCLD
                                                    )
 ENDURANCE AMERICAN INSURANCE                       ) TRIAL BY JURY OF
 COMPANY, CONTINENTAL                               ) TWELVE DEMANDED
 CASUALTY COMPANY, ZURICH                           )
 AMERICAN INSURANCE COMPANY,                        )
 XL SPECIALTY INSURANCE                             )
 COMPANY, STARR INDEMNITY k,                        )
 LIABILITY COMPANY, MARKEL                          )
 AMERICAN INSURANCE COMPANY,                        )
 ARGONAUT INSURANCE COMPANY,                        )
 GREAT AMERICAN INSURANCE                           )
 COMPANY, IRONSHORE INDEMNITY                       )
 INC. , and EVEREST NATIONAL                        )
 INSURANCE COMPANY,                                 )
                                                    )
                              Defendants.           )
                   CERTIFICATION OF NATHAN R. LANDER

              Nathan    R. Lander hereby certifies that:

              1.       I shall be bound by the Delaware Lawyers' Rules of Professional

 Conduct.

              2.       I, and all attorneys of my firm who directly or indirectly provide

 services to the parties or cause at issue, shall be bound by all Rules of the Court.
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               3.        I have reviewed the Principles of Professionalism         for Delaware

 Lawyers.

               4.        I consent to the appointment of the Prothonotary as agent upon

 whom service of process may be made for all actions, including disciplinary actions,

 that may arise out of the practice        of law under this rule and any activities related

 thereto.

               5.        I have appeared     in the following actions in the courts of record

 of Delaware    in the preceding      twelve months:      Sun Life Assurance       Company      of
 Canada v. US. Bank National Association as Securities Intermediary,                et al. , Civil

Action No. 17-00075-LPS, United States District Court for the District of Delaware.

               6.        I do not maintain   an office in the State of Delaware.

               7.        I am a member in good standing of the Bar of the State of New

York.

               8.        I have not been disbarred or suspended     and am not the object of

any pending disciplinary proceedings in any jurisdiction where I have been admitted

generally, pro hac vice, or in any other way.

               9.        I am admitted for the practice of law in the following state(s) or

other jurisdiction(s):     State of New York; United States District Court for the Eastern

District of New York; United States District Court for the Southern District of New

York; United States Court of Appeals for the Eleventh Circuit; United States Court
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 of Appeals for the First Circuit; United States Court of Appeals for the Ninth Circuit;

 and United States Court of Appeals for the Seventh Circuit.

               10.   Payment for the pro hac vice admission assessment in the amount

 of Four Hundred     and Seven Dollars ($407.00) is being submitted           via File 8c

 ServeXpress simultaneous    with submission   of this certification, to be deposited with

 the Prothonotary.



                                                Nathan   R. Lander
 Dated: October 10, 2018
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Company



                                              /s/ David J. Baldwin
                                              David J. Baldwin (No. 1010)
                                              Carla M. Jones (No. 6046)
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        Judge: Abigail M LeGrow

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  Current Date: Oct 12, 2018

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/s/ Judge LeGrow, Abigail M
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        Judge: Abigail M LeGrow

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             /s/ LeGrow, Abigail M Oct 12, 2018   Transaction ID 62555517
                                                  Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                    C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                             [PROPOSED] ORDER
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 230 of 349 PageID #: 236



      The foregoing application of Michael F. Perlis for admission pro hac vice in

this action is hereby granted.

      SO ORDERED this________day of _________________, 2018.



                                      Hon. Abigail M. LeGrow
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 231 of 349 PageID #: 237




        Court: DE Superior Court-New Castle County

        Judge: Abigail M LeGrow

   File & Serve
Transaction ID: 62540565

  Current Date: Oct 12, 2018

 Case Number: N18C-09-211 AML CCLD



/s/ Judge LeGrow, Abigail M
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 232 of 349 PageID #: 238




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 233 of 349 PageID #: 239
                Granted (Perlis, Michael F. : [Proposed] Order to Motion for Admission Pro Hac Vice




                                  General Information



Court                             Delaware Superior Court, New Castle County

Docket Number                     N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 234 of 349 PageID #: 240
                        Granted                   EFiled: Oct 12 2018 02:25PM EDT
             /s/ LeGrow, Abigail M Oct 12, 2018   Transaction ID 62555517
                                                  Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                    C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                             [PROPOSED] ORDER
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 235 of 349 PageID #: 241



      The foregoing application of Cary J. Economou for admission pro hac vice

in this action is hereby granted.

      SO ORDERED this________day of _________________, 2018.



                                    Hon. Abigail M. LeGrow
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 236 of 349 PageID #: 242




        Court: DE Superior Court-New Castle County

        Judge: Abigail M LeGrow

   File & Serve
Transaction ID: 62540565

  Current Date: Oct 12, 2018

 Case Number: N18C-09-211 AML CCLD



/s/ Judge LeGrow, Abigail M
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 237 of 349 PageID #: 243
                Granted (Economou, Cary J. : [Proposed] Order to Motion for Admission Pro Hac Vice




                                  General Information



Court                             Delaware Superior Court, New Castle County

Docket Number                     N18C-09-211




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                                                                                                                // PAGE 4
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 238 of 349 PageID #: 244
                                                EFiled: Oct 09 2018 04:48PM EDT
                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 239 of 349 PageID #: 245
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 240 of 349 PageID #: 246
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 241 of 349 PageID #: 247




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 242 of 349 PageID #: 248
                Perlis, Michael F.: Certification Pursuant to Superior Court Civil Rule 90.1(B) to




                                General Information



Court                           Delaware Superior Court, New Castle County

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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 243 of 349 PageID #: 249
                                                EFiled: Oct 09 2018 04:48PM EDT
                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                  C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                            [PROPOSED] ORDER
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 244 of 349 PageID #: 250



      The foregoing application of Michael F. Perlis for admission pro hac vice in

this action is hereby granted.

      SO ORDERED this________day of _________________, 2018.



                                      Hon. Abigail M. LeGrow
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 245 of 349 PageID #: 251
                Perlis, Michael F. : [Proposed] Order to Motion for Admission Pro Hac Vice to represent




                                    General Information



Court                              Delaware Superior Court, New Castle County

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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 246 of 349 PageID #: 252
                                                EFiled: Oct 09 2018 04:48PM EDT
                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                   C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                      MOTION FOR ADMISSION
                 PRO HAC VICE OF CARY J. ECONOMOU

      Elena C. Norman (“Movant”), a member of the Delaware bar, pursuant to

Delaware Superior Court Civil Rule 90.1, hereby moves the admission pro hac
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 247 of 349 PageID #: 253



vice of Cary J. Economou (“Applicant”) of Locke Lord LLP, 2200 Ross Avenue,

Suite 2800, Dallas, TX 75201 to represent Defendant Markel American Insurance

Company in this action. Movant certifies that she finds Applicant to be a reputable

and competent attorney, and that Movant is in a position to recommend

Applicant’s admission pro hac vice. The Applicant is admitted, practicing, and in

good standing in the States of California and Texas.



                                          YOUNG CONAWAY STARGATT &
                                          TAYLOR, LLP

                                          /s/ Elena C. Norman
                                          Elena C. Norman (No. 4780)
                                          Rodney Square
                                          1000 North King Street
                                          Wilmington, DE 19801
                                          (302) 571-6600

                                          Attorney   for   Defendant        Markel
                                          American Insurance Company


Dated: October 9, 2018
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 248 of 349 PageID #: 254




                        CERTIFICATE OF SERVICE

         I, Elena C. Norman, Esquire, hereby certify that on October 9, 2018, a

   copy of the foregoing document was served on the following counsel in the

   manner indicated below:

   BY FILE & SERVEXPRESS

   David J. Baldwin, Esq.
   Carla M. Jones, Esq.
   POTTER ANDERSON
    & CORROON LLP
   Hercules Plaza, Sixth Floor
   1313 North Market Street
   Wilmington, DE 19801




                                         /s/ Elena C. Norman
                                         Elena C. Norman (#4780)
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 249 of 349 PageID #: 255




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 250 of 349 PageID #: 256
                Economou, Cary J.: Motion for Admission Pro Hac Vice to represent Defendant Markel




                                  General Information



Court                             Delaware Superior Court, New Castle County

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                                                EFiled: Oct 09 2018 04:48PM EDT
                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                  C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                  NOTICE OF MOTION FOR ADMISSION
                 PRO HAC VICE OF CARY J. ECONOMOU
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 252 of 349 PageID #: 258



      PLEASE TAKE NOTICE that the undersigned will present the attached

Motion for Admission Pro Hac Vice of Cary J. Economou at the convenience of

the Court.

                                        YOUNG CONAWAY STARGATT &
                                        TAYLOR, LLP

                                        /s/ Elena C. Norman
                                        Elena C. Norman (No. 4780)
                                        Rodney Square
                                        1000 North King Street
                                        Wilmington, DE 19801
                                        (302) 571-6600

                                        Attorney   for   Defendant     Markel
                                        American Insurance Company


Dated: October 9, 2018
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 253 of 349 PageID #: 259
             Economou, Cary J.: Notice of Motion for Admission Pro Hac Vice to represent Defendant




                                General Information



Court                           Delaware Superior Court, New Castle County

Docket Number                   N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 254 of 349 PageID #: 260
                                                EFiled: Oct 09 2018 04:48PM EDT
                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 255 of 349 PageID #: 261
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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 258 of 349 PageID #: 264
                Economou, Cary J.: Certification Pursuant to Superior Court Civil Rule 90.1(B) to




                                General Information



Court                           Delaware Superior Court, New Castle County

Docket Number                   N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 259 of 349 PageID #: 265
                                                EFiled: Oct 09 2018 04:48PM EDT
                                                Transaction ID 62540565
                                                Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

                              )
SYCAMORE PARTNERS             )
MANAGEMENT, L.P. (F/K/A       )
SYCAMORE PARTNERS             )
MANAGEMENT, L.L.C.), SYCAMORE )
PARTNERS, L.P., and SYCAMORE  )
PARTNERS A, L.P.,             )
                              )
Plaintiffs,                   )                  C.A. No. N18C-09-211 AML CCLD
                              )
            v.                )
                              )
ENDURANCE AMERICAN INSURANCE )
COMPANY, CONTINENTAL          )
CASUALTY COMPANY, ZURICH      )
AMERICAN INSURANCE COMPANY,   )
XL SPECIALTY INSURANCE        )
COMPANY, STARR INDEMNITY &    )
LIABILITY COMPANY, MARKEL     )
AMERICAN INSURANCE COMPANY,   )
ARGONAUT INSURANCE COMPANY,   )
GREAT AMERICAN INSURANCE      )
COMPANY, IRONSHORE INDEMNITY  )
INC., and EVEREST NATIONAL    )
INSURANCE COMPANY             )
                              )
Defendants.                   )




                            [PROPOSED] ORDER
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 260 of 349 PageID #: 266



      The foregoing application of Cary J. Economou for admission pro hac vice

in this action is hereby granted.

      SO ORDERED this________day of _________________, 2018.



                                    Hon. Abigail M. LeGrow
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 261 of 349 PageID #: 267
             Economou, Cary J. : [Proposed] Order to Motion for Admission Pro Hac Vice to represent




                                 General Information



Court                            Delaware Superior Court, New Castle County

Docket Number                    N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 262 of 349 PageID #: 268
                                                EFiled: Oct 11 2018 12:26PM EDT
                                                Transaction ID 62548445
                                                Case No. N18C-09-211 AML CCLD
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 263 of 349 PageID #: 269
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 264 of 349 PageID #: 270
                Failla, John E.: Motion for Admission Pro Hav Vice on behalf of Plaintiffs Sycamore




                                 General Information



Court                            Delaware Superior Court, New Castle County

Docket Number                    N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 265 of 349 PageID #: 271
                                                EFiled: Oct 11 2018 12:26PM EDT
                                                Transaction ID 62548445
                                                Case No. N18C-09-211 AML CCLD
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 266 of 349 PageID #: 272
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 267 of 349 PageID #: 273
                Failla, John E.: Notice of Motion for Admission Pro Hav Vice on behalf of Plaintiffs




                                 General Information



Court                            Delaware Superior Court, New Castle County

Docket Number                    N18C-09-211




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                                                EFiled: Oct 11 2018 12:26PM EDT
                                                Transaction ID 62548445
                                                Case No. N18C-09-211 AML CCLD
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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 270 of 349 PageID #: 276
                Failla, John E.: Proposed Order granting the Motion for Admission Pro Hav Vice on




                                 General Information



Court                            Delaware Superior Court, New Castle County

Docket Number                    N18C-09-211




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                                                          EFiled: Oct 11 2018 12:26PM EDT
                                                          Transaction ID 62548445
                                                          Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS                                )
 MANAGEMENT, L.P. (F/K/A                          )
 SYCAMORE PARTNERS                                )
 MANAGEMENT, L.L.C.), SYCAMORE                    )
 PARTNERS, L.P., and SYCAMORE                         )
 PARTNERS A, L.P. ,                                   )
                                                      )

                                                                               ~
                            Plaintiffs,               )
                                                      )
                                                      ) C.A. No. N18C-09-211            CCLD
                                                      )
 ENDURANCE AMERICAN INSURANCE                         ) TRIAL BY JURY OF
 COMPANY, CONTINENTAL                                 ) TWELVE DEMANDED
 CASUALTY COMPANY, ZURICH                             )
 AMERICAN INSURANCE COMPANY,                          )
 XL SPECIALTY INSURANCE                               )
 COMPANY, STARR INDEMNITY k,                          )
 LIABILITY COMPANY, MARKEL                            )
 AMERICAN INSURANCE COMPANY,                          )
 ARGONAUT INSURANCE COMPANY,                          )
 GREAT AMERICAN INSURANCE                             )
 COMPANY, IRONSHORE INDEMNITY                         )
 INC. , and EVEREST NATIONAL                          )
 INSURANCE COMPANY,                                   )
                                                      )
                            Defendants.               )
                     CERTIFICATION OF JOHN K. FAILLA

              John E. Failla hereby certifies that:

              1.     I shall be bound by the Delaware Lawyers' Rules of

Professional Conduct.

              2.     I, and all attorneys of my firm who directly or indirectly provide

 services to the parties or cause at issue, shall be bound by all Rules of the Court.
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 272 of 349 PageID #: 278




               3.     I have reviewed the Principles of Professionalism for Delaware

Lawyers.

               4.     I consent to the appointment of the Prothonotary as agent upon

whom service of process may be made for all actions, including disciplinary actions,

that may arise out of the practice       of law under this rule and any activities related

thereto.

               5.     I have appeared      in the following actions in the courts of record

 of Delaware in the preceding twelve months:             Sun Life Assurance       Company     of

 Canada v. U. S. Bank Nationa/ Association as Securities Intermediary,            et al. , Civil

 Action No. 17-00075-LPS, United States District Court for the District of Delaware.

               6.     I do not maintain     an office in the State of Delaware.

               7.     I am a member in good standing of the Bar of the State of New

 York.

               8.         I have not been disbarred or suspended   and am not the object of

 any pending disciplinary proceedings in any jurisdiction where I have been admitted

 generally, pro hac vice, or in any other way.

               9.         I am admitted for the practice of law in the following state(s) or

 other jurisdiction(s):     State of New York; United States District Court for the Eastern

 District of New York; United States District Court for the Southern District of New

 York; United States Court of Appeals for the Second Circuit; United States Court of
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 273 of 349 PageID #: 279




Appeals for the Federal Circuit; United States Court of Appeals for the First Circuit;

United States Court   of Appeals for the Seventh Circuit; United States Court of

Appeals for the Ninth Circuit; and United States Court of Appeals for the Eleventh

 Circuit.

              10.   Payment for the pro hac vice admission assessment in the amount

of Four Hundred     and Seven Dollars ($407.00) is being submitted           via File k

 ServeXpress simultaneous   with submission   of this certification, to be deposited with

the Prothonotary.


                                               John E. Failla

Dated: October 10, 2018
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 274 of 349 PageID #: 280
                 Failla, John E.: Certification for Admission Pro Hav Vice on behalf of Plaintiffs




                                General Information



Court                           Delaware Superior Court, New Castle County

Docket Number                   N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 275 of 349 PageID #: 281
                                                  EFiled: Oct 15 2018 01:49PM EDT
                                                  Transaction ID 62559283
                                                  Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS           )
 MANAGEMENT, L.P. (F/K/A     )
                             )
 SYCAMORE PARTNERS
                             )
 MANAGEMENT, L.L.C.),        )
 SYCAMORE PARTNERS, L.P., and)
 SYCAMORE PARTNERS A, L.P.,  )
                             )
           Plaintiffs,       )
                             )
 v.
                             )               C.A. NO.: N18C-09-211 AML
                             )
 ENDURANCE AMERICAN                          (CCLD)
                             )
 INSURANCE COMPANY,          )
 CONTINENTAL CASUALTY        )
 COMPANY, ZURICH AMERICAN    )
                             )
 INSURANCE COMPANY, XL
                             )
 SPECIALTY INSURANCE         )
 COMPANY, STARR INDEMNITY & )
 LIABILITY COMPANY, MARKEL   )
 AMERICAN INSURANCE          )
 COMPANY, ARGONAUT           )
                             )
 INSURANCE COMPANY, GREAT
                             )
 AMERICAN INSURANCE          )
 COMPANY, IRONSHORE          )
 INDEMNITY INC., and EVEREST )
 NATIONAL INSURANCE COMPANY )
                             )
                             )
            Defendants.

     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
                   MOTION TO DISMISS

      Defendant Markel American Insurance Company (“MAIC”), by and through

undersigned counsel, hereby moves to dismiss with prejudice Counts II and III of

Plaintiffs’ Complaint as to MAIC pursuant to Rules 12(b)(1) and/or 12(b)(6) of the


                                        1
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 276 of 349 PageID #: 282




Rules of Civil Procedure for the Superior Court, or in the alternative based on the

doctrine of forum non conveniens. The grounds for this Motion are set forth in the

Opening Brief filed contemporaneously herewith.



                                        YOUNG CONAWAY STARGATT
                                        & TAYLOR, LLP

OF COUNSEL:                             /s/ Elena C. Norman
                                        Elena C. Norman (No. 4780)
LOCKE LORD LLP                          Rodney Square
Michael F. Perlis                       1000 North King Street
Cary J. Economou                        Wilmington, DE 19899
300 S. Grand Avenue                     (302) 571-6600
Suite 2600
Los Angeles, CA 90071
(213) 485-1500                          Counsel for Defendant Markel
                                        American Insurance Company
Dated: October 15, 2018




                                        2
        Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 277 of 349 PageID #: 283




                                     CERTIFICATE OF SERVICE

                      I, Elena C. Norman, Esquire, hereby certify that on October 15, 2018,

                a copy of the foregoing document was served on the following counsel in the

                manner indicated below:

                BY FILE & SERVEXPRESS

                David J. Baldwin, Esq.
                Carla M. Jones, Esq.
                POTTER ANDERSON
                 & CORROON LLP
                Hercules Plaza, Sixth Floor
                1313 North Market Street
                Wilmington, DE 19801




                                                     /s/ Elena C. Norman
                                                     Elena C. Norman (#4780)




01:23728598.1
Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 278 of 349 PageID #: 284




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 279 of 349 PageID #: 285
                Defendant Markel American Insurance Company's Motion to Dismiss with certificate of




                                  General Information



Court                             Delaware Superior Court, New Castle County

Docket Number                     N18C-09-211




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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 280 of 349 PageID #: 286
                                                    EFiled: Oct 15 2018 01:49PM EDT
                                                    Transaction ID 62559283
                                                    Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS           )
 MANAGEMENT, L.P. (F/K/A     )
                             )
 SYCAMORE PARTNERS
                             )
 MANAGEMENT, L.L.C.),        )
 SYCAMORE PARTNERS, L.P., and)
 SYCAMORE PARTNERS A, L.P.,  )
                             )
           Plaintiffs,       )
                             )
 v.
                             )                 C.A. NO.: N18C-09-211 AML
                             )
 ENDURANCE AMERICAN                            (CCLD)
                             )
 INSURANCE COMPANY,          )
 CONTINENTAL CASUALTY        )
 COMPANY, ZURICH AMERICAN    )
                             )
 INSURANCE COMPANY, XL
                             )
 SPECIALTY INSURANCE         )
 COMPANY, STARR INDEMNITY & )
 LIABILITY COMPANY, MARKEL   )
 AMERICAN INSURANCE          )
 COMPANY, ARGONAUT           )
                             )
 INSURANCE COMPANY, GREAT
                             )
 AMERICAN INSURANCE          )
 COMPANY, IRONSHORE          )
 INDEMNITY INC., and EVEREST )
 NATIONAL INSURANCE COMPANY )
                             )
                             )
             Defendants.
                              [PROPOSED] ORDER

      IT IS HEREBY ORDERED this __ day of _________, 2018, after

consideration of the Motion to Dismiss of Defendant Markel American Insurance

Company pursuant to Rules 12(b)(1) and 12(b)(6) of the Rules of Civil Procedure

for the Superior Court of the State of Delaware, or in the alternative based on the
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doctrine of forum non conveniens, and any opposition thereto, that the Motion is

GRANTED, as follows:

      A. Count II is dismissed as to Defendant Markel American Insurance
         Company, with prejudice; and

      B. Count III is dismissed as to Defendant Markel American Insurance
         Company, with prejudice.



                                            The Honorable Abigail M. LeGrow
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             [Proposed] Order to Defendant Markel American Insurance Company's Motion to Dismiss




                                General Information



Court                           Delaware Superior Court, New Castle County

Docket Number                   N18C-09-211




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                                                EFiled: Oct 15 2018 01:49PM EDT
                                                Transaction ID 62559283
                                                Case No. N18C-09-211 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 SYCAMORE PARTNERS           )
 MANAGEMENT, L.P. (F/K/A     )
                             )
 SYCAMORE PARTNERS
                             )
 MANAGEMENT, L.L.C.),        )
 SYCAMORE PARTNERS, L.P., and)
 SYCAMORE PARTNERS A, L.P.,  )
                             )
           Plaintiffs,       )
                             )
 v.
                             )              C.A. NO.: N18C-09-211 AML
                             )
 ENDURANCE AMERICAN                         (CCLD)
                             )
 INSURANCE COMPANY,          )
 CONTINENTAL CASUALTY        )
 COMPANY, ZURICH AMERICAN    )
                             )
 INSURANCE COMPANY, XL
                             )
 SPECIALTY INSURANCE         )
 COMPANY, STARR INDEMNITY & )
 LIABILITY COMPANY, MARKEL   )
 AMERICAN INSURANCE          )
 COMPANY, ARGONAUT           )
                             )
 INSURANCE COMPANY, GREAT
                             )
 AMERICAN INSURANCE          )
 COMPANY, IRONSHORE          )
 INDEMNITY INC., and EVEREST )
 NATIONAL INSURANCE COMPANY )
                             )
                             )
            Defendants.

     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
         BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
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Dated: October 15, 2018               American Insurance Company




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     DEFENDANT MARKEL AMERICAN INSURANCE COMPANY’S
         BRIEF IN SUPPORT OF ITS MOTION TO DISMISS

      Defendant Markel American Insurance Company (“MAIC”), through its

undersigned counsel, hereby files the instant Motion to Dismiss the Complaint

filed by Plaintiffs Sycamore Partners Management, L.P. (f/k/a Sycamore Partners

Management, L.L.C.), Sycamore Partners, L.P., and Sycamore Partners A, L.P.

(collectively “Plaintiffs” or “Sycamore”).

I.    INTRODUCTION

      Sycamore seeks by this lawsuit to compel the Defendant Insurers to fully

pay an unidentified settlement of a yet to be filed litigation and all Defense

Expenses submitted without regard to the contents of the applicable Policies and

the nature of the Defense Expenses. That is simply not what either the law or the

Policies require.

      While the Defendant Insurers are not even aware of the full details of any

Claims to be asserted against Sycamore, they have been sued for failing to blindly

agree to provide coverage under their respective policies of insurance for unknown

Claims and Defense Expenses. In light of what the Complaint does not allege and

cannot allege, this action is not ripe for adjudication because Sycamore cannot

meet its burden to demonstrate an “actual controversy” exists between it and

MAIC, and the action fails to state a claim as to MAIC for which relief may be

granted. While Sycamore may surmise as to what it thinks the Claims will be,
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until the facts and claims are set forth, there is no way for MAIC to ascertain

whether or not there is coverage for any potential, yet unidentified, settlement.

Accordingly, Sycamore’s request is not sufficiently ripe to implicate this Court’s

subject matter jurisdiction and fails to state a claim such that it should be

dismissed.

      Notwithstanding the failure to identify the Claims for which coverage is

sought, Sycamore also fails to recognize that MAIC has no obligation to provide

coverage under the Excess Follow Form, Policy No. MKLM6EL0002892 (the

“MAIC Excess Policy”), which MAIC issued to Sycamore, until such time as the

Underlying Insurance in the amount of $50,000,000 has been exhausted by

payment of covered Loss. Sycamore did not and cannot allege that the Underlying

Insurance in the amount of $50,000,000 has been exhausted by the actual payment

of reasonable, covered Loss. Therefore, MAIC has no obligation to reimburse all

Defense Expenses and/or indemnify any settlement until exhaustion of Underlying

Insurance. Accordingly, for Sycamore’s failure to state a claim for which relief can

be granted, this action should be dismissed.

      It is apparent as well that this Complaint should also be dismissed based on

forum non conveniens. The only connection to Delaware is that some of the parties

are organized under Delaware law. Otherwise, the parties’ principal places of

business are in New York or locations other than Delaware.            The conduct


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underlying the potential Claim and/or settlement occurred in New York. The

bankruptcy of Nine West is pending in the Southern District of New York. The

MAIC Excess Policy was issued in New York. Premiums were paid in New York.

New York law will apply to coverage determinations.             Given the strong

connections this dispute has to New York, it should be dismissed to allow for it to

be re-filed in New York.

      MAIC respectfully requests that this Court dismiss with prejudice Counts II

and III as to MAIC and without leave to replead pursuant to Superior Court Rules

of Civil Procedure 12(b)(1) and/or 12(b)(6), or in the alternative, dismiss this

action based on forum non conveniens.

II.   FACTUAL BACKGROUND

      A.    Nature of the Proceedings

      Sycamore has filed the Complaint asserting causes of action against MAIC

for declaratory judgment. MAIC moves to dismiss the Complaint under Superior

Court Rules of Civil Procedure 12(b)(1) due to lack of ripeness and 12(b)(6) for

failure to state a claim on which relief may be granted. MAIC is also seeking

dismissal based on forum non conveniens.




                                        3
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        B.    Statement of Relevant Facts

              1.    The Policies of Underlying Insurance

        MAIC issued to Sycamore Partners Management, L.P., as the Named

Insured, an Excess Follow Form Policy, No. MKLM6EL0002892 (the “MAIC

Excess Policy”) for the Policy Period of December 31, 2015 to June 30, 2018. The

MAIC Excess Policy, except as stated otherwise, “shall provide the Insureds with

insurance in accordance with the terms, conditions and exclusions set forth in the

Followed Policy and, to the extent coverage is further limited or restricted thereby,

in any other Underlying Insurance.” Amended Insuring Agreement (Form MAUB

1503 01 15). MAIC’s obligations, if any, are triggered “only after the insurers of

the Underlying Insurance, an excess difference–in-conditions (“DIC”) insurer, the

Insureds, or parties on behalf of the Insureds pay in legal currency as loss covered

under the Underlying Insurance the full amount of the Underlying Limit.” Id.

MAIC’s maximum aggregate liability for all Loss covered under its policy is

$10,000,000 excess of $50,000,000.

        The Followed Policy was issued by Endurance American Insurance

Company (“Endurance”)1 and has aggregate combined Limits of Liability for all

Loss, including Defense Expenses, of $10,000,000 per Claim and in the aggregate

excess of a $500,000 Retention.       The Underlying Insurance consists of the


1
    Endurance is now a member of the Sompo International Companies (“Sompo”).

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Followed Policy plus four other excess policies of insurance, each of which has

aggregate Limits of Liability of $10,000,000.2

            2.     Allegations of the Complaint

      Sycamore is a private equity group, located at 9 West 57th Street, New

York, New York, that consists of entities that, respectively, manage and hold

investments in portfolio companies through a variety of strategies, including

leveraged buyouts, distressed buyouts, corporate carve-outs, and debt investments.

(Compl. ¶ 2.) Starting in August of 2017, various parties began to assert claims

against Sycamore alleging that Sycamore and various Sycamore Individuals (as

those terms are defined in the Complaint) committed wrongful acts in connection

with Sycamore’s investment in and transactions involving a portfolio company

called Nine West Holdings, Inc. (“Nine West”). (Compl. ¶ 5.) Over the following

months, creditors of Nine West asserted additional Claims against Sycamore and

Sycamore Individuals, including but not limited to in various proposed

“restructuring agreements” of Nine West, which demanded that Sycamore pay

settlement funds to compensate for the alleged damages caused by Sycamore and

the Sycamore Individuals to Nine West and its creditors. (Compl. ¶ 42.)




2
 The insurers of the Underlying Insurance are Endurance, Continental Casualty
Company, Zurich American Insurance Company, XL Specialty Insurance
Company and Starr Indemnity & Liability Company.

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      Nine West and certain affiliated companies subsequently filed for Chapter

11 petitions on April 6, 2018 in the United States Bankruptcy Court for the

Southern District of New York, at which time the Nine West bankruptcy estate

became empowered to pursue claims against Sycamore and the Sycamore

Individuals and negotiate potential settlement of such claims.3      (Compl. ¶ 5.)

Specifically, the Nine West bankruptcy estate — through the disinterested directors

of Nine West — became empowered to pursue all Claims against Sycamore and

the Sycamore Individuals (again, the “Nine West Claims”) and to negotiate

potential settlements of the Nine West Claims with Sycamore. The Nine West

Claims include, among others, alleged fraudulent conveyances, breaches of

fiduciary duty and aiding and abetting breaches of fiduciary duty. (Compl. ¶ 43.)

      On September 11, 2018, the disinterested directors of Nine West and the

Committee of Unsecured Creditors of Nine West sent a written demand letter to

Sycamore. This demand letter reiterated and alleged the Nine West Claims against

Sycamore and the Sycamore Individuals, including various alleged breaches of

fiduciary duties and aiding and abetting of breaches of fiduciary duties. (Compl. ¶

44.) The demand letter further provided that it was not intended to express each




3
  This allegation may not be accurate, as it is MAIC’s understanding that the
Bankruptcy Court has not yet provided its authority to creditors and/or a trustee to
pursue any claims.

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and every claim that may be asserted against the Sycamore Defendants or others,

nor to detail every relevant fact or even to highlight the most important facts.

       Allegedly, Sycamore has already incurred several million dollars of Defense

Expenses in the investigation and defense of the claims asserted against Sycamore

and the Sycamore Individuals (the “Nine West Claims”) and continues to incur

substantial Defense Expenses. (Compl. ¶¶ 6, 45.)           By this action, Plaintiffs

accordingly seek declarations that (a) the Insurers are obligated to provide

coverage for all Defense Expenses incurred for the Nine West Claims and (b) the

Insurers are obligated to provide coverage for any settlement of the Nine West

Claims. (Compl. ¶ 9.)

III.   ARGUMENT

       A declaratory judgment action presents an actual controversy if “the facts

alleged, under all the circumstances, show that there is a substantial controversy,

between parties having adverse legal interests, of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment.” Md. Cas. Co. v. Pac. Coal &

Oil Co., 312 U.S. 270, 273 (1941). Under Superior Court Civil Rule 12(b)(6), the

Court may dismiss a plaintiff’s claim for “failure to state a claim upon which relief

can be granted.” Super. Ct. Civ. R. 12(b)(6). “The Court must determine whether

the claimant may recover under any reasonably conceivable set of circumstances

susceptible of proof [and] accept as true all non-conclusory, well-pleaded


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allegations.” LaFayette v. Christian, No. N12C-04-163 MMJ, 2012 WL 3608690,

at *1 (Del. Super. Aug. 21, 2012) (internal citation and quotation marks omitted).

The Court may consider documents attached to or incorporated by reference in the

complaint, matters “integral” to the complaint, and facts of which a court may take

judicial notice, such as publicly-filed documents and matters that are not the

subject of reasonable dispute. See Cornell Glasgow v. LaGrange Props., LLC, No.

N11C-07-160 JRS CCLD, 2012 WL 3157124, at *3 n.28 (Del. Super. Aug. 1,

2012); Prather v. Doroshow, Pasquale, Krawitz & Bhaya, No. 11 C-02-139 RRC,

2011 WL 1465520, at *1 n.2 (Del. Super. Apr. 14, 2011). Conclusions “will not

be accepted as true without specific allegations of fact to support them.” In re

Tri-Star Pictures, Inc. Litig., 634 A.2d 319, 326 (Del. 1993).

      “Unlike the standards employed in Rule 12(b)(6) analysis, the guidelines for

the Court’s review of [a] Rule 12(b)(1) motion are far more demanding of the

non-movant. The burden is on Plaintiffs to prove jurisdiction exists. Further, the

Court need not accept Plaintiffs[’] factual allegations as true and is free to consider

facts not alleged in the complaint.” Appriva S’holder Litig. Co. v. ev3, Inc., 937

A.2d 1275, 1284 n.14 (Del. 2007) (first alteration in original) (citation omitted).

      A. Counts II and III, As Alleged Against MAIC, Are Not Ripe For
         Adjudication And Based On Their Prematurity Should Be Dismissed.

      Count II of the Complaint seeks a declaration that MAIC, as an Excess

Insurer, is required to pay all Defense Expenses in excess of the $10,000,000 limit
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of the primary, Followed Policy (Compl. ¶ 66.) Count III seeks a declaration that

the Defendant Insurers, including MAIC, are obligated to provide coverage to

Sycamore for any settlement of the Nine West Claims. (Compl. ¶ 75.) However,

as these two counts apply to MAIC, neither claim presents a justiciable controversy

because there are too many unknown factors and contingencies relative to the

exhaustion of the $50,000,000 in insurance underlying the MAIC Excess Policy,

which is required to be exhausted prior to any obligation on the part of MAIC.

Indeed, MAIC’s current participation in this action is premature and a waste of this

Court’s limited resources.

      In order for a claim to present an actual case or controversy, “the issue

involved in the controversy must be ripe for judicial declaration.” Monsanto Co. v.

Aetna Casualty and Surety Co., 565 A.2d. 268, 274 (Del. Super. 1989). “Ripeness,

the simple question of whether a suit has been brought at the correct time, goes to

the very heart of whether a court has subject matter jurisdiction.” Bebchuk v. CA,

Inc., 902 A.2d 737, 740 (Del. Ch. 2006) (quoting 15 James W. Moore et al.,

Moore’s Federal Practice and Procedure § 101.70[1] (3d ed. 2006)). If a case is

not ripe, it is not justiciable because a decision would result only in an advisory

opinion. Energy P’rs, Ltd. v. Stone Energy Corp., No. 2402, 2006 WL 2947483, at

*6 (Del. Ch. Oct. 11, 2006) (“Delaware courts must decline to exercise jurisdiction




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over cases in which a controversy has not yet matured, to avoid rendering advisory

opinions.”) (internal quotation marks omitted).

      In determining whether an issue is ripe, Delaware courts employ a five-part

balancing test that involves:

          (1) a practical evaluation of the legitimate interests of the
          plaintiff in a prompt resolution of the question presented; (2)
          the hardship that further delay may threaten; (3) the prospect of
          future factual development that might affect the determination
          made; (4) the need to conserve scarce resources; and (5) a due
          respect for identifiable policies of law touching upon the
          subject matter in dispute.

Monsanto, 565 A.2d at 274. More generally, “[t]he Court must use its judicial

discretion based on the factors of each case to weigh the interests of an early

resolution of the controversy, judicial economy and legal stability which, when

taken together, may in some cases require dismissal of the declaratory judgment

action.” Id. In this case, the five “ripeness” factors favor dismissal.

      As applied to MAIC, both Counts II and III of the Complaint fail the

“ripeness” requirement. Specifically, with respect to the first “ripeness” factor,

Sycamore has not alleged any current liability on behalf of MAIC for Defense

Expenses that even remotely approach MAIC’s $10,000,000 excess of $50,000,000

Limit of Liability. Likewise, Sycamore has not alleged that any hypothetical

settlement will exhaust the Underlying Insurance and trigger coverage under the

MAIC Excess Policy. In fact, Sycamore’s Complaint acknowledges that there is


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presently no settlement for which it is seeking indemnification. See Compl. ¶ 9

(stating “Insurers are obligated to provide coverage for any settlement of the Nine

West Claims” as opposed to the settlement because there is no settlement); ¶ 42

(proposed “restricting agreements” of Nine West, which demanded that Sycamore

pay settlement funds to compensate for the alleged damages”); ¶ 43 (“[T]he Nine

West bankruptcy estate . . . became empowered to . . . negotiate potential

settlements . . . .”). As exhaustion is required to trigger the MAIC Excess Policy,

which has neither occurred nor been alleged, there is thus no “legitimate interest[]

. . . in a prompt resolution of the question,” Monsanto, 565 A.2d at 274, of MAIC’s

obligation to reimburse Defense Expenses and/or contribute to an unknown

settlement under the MAIC Excess Policy at this time. Any request by Sycamore

is therefore premature. Accordingly, because Sycamore cannot have a “legitimate

interest” in pursuing a tentative and non-binding determination, the first “ripeness”

factor favors dismissal.

      Second, Sycamore will suffer no “hardship” from any delay in resolving its

claims against MAIC. It is too early to know if Sycamore’s claims against the

Defendant Insurers generally, and MAIC specifically, will ripen. The Defendant

Insurers’ liability to Sycamore is entirely contingent upon numerous factors, which

may or may not ever materialize, making Sycamore’s Defense Expense and

indemnification claims unripe. As there is no settlement for which Sycamore can


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seek indemnification, adjudicating the Defendant Insurers’ indemnification

obligations prospectively in these circumstances would be inappropriate and could

only result in an impermissible advisory opinion. MAIC is not liable to Sycamore

at this time and its absence from this litigation does no harm. However, so long as

MAIC remains a defendant, it will be forced to incur substantial litigation costs

defending itself in this premature action. Thus, it is MAIC, not Sycamore, which

will suffer “hardship” if the claims against it are not dismissed. See Monsanto, 565

A.2d at 274.

      Third, “the prospect of future factual development that might affect the

determination made” also strongly favors MAIC.          Not until the Defendants

understand and appreciate the facts of the specific Claim for which Sycamore may

ultimately be seeking coverage can such coverage be determined. Sycamore’s

simplistic assertions that by its mere purchase of a policy of insurance, it is

guaranteed coverage, misses the mark. Coverage under the Policies applies subject

to their terms, conditions and exclusions, which need to be considered in

conjunction with the details of the Claim to determine the existence, if any, of

coverage. For example, each of the Polices issued by the Excess Insurers requires

exhaustion, and the Complaint does not allege, and cannot allege, that exhaustion

has in fact occurred. Also, the Policies are reimbursement policies and not duty to

defend policies and provide reimbursement only for reasonable, covered Defense


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Expenses.    Therefore, the Defendant Insurers have no duty to defend or

contemporaneously reimburse Defense Expenses. All the Defendant Insurers are

required to do is to pay covered Loss for covered Claims. There is no allegation or

indication that any of the Defense Expenses are reasonable and covered. None of

the invoices have been submitted for the Defendants or this Court to consider.

How can the Court make the determination of covered Loss without seeing the

invoices or other information relative to the incurred amounts?

      In addition, the request for this Court to declare that the Defendant Insurers

are required to indemnify all amounts of any settlement is without basis. The

MAIC Excess Policy includes a Pending and Prior Litigation Exclusion that

precludes coverage for any Claims made against Sycamore “based upon, arising

from, or in consequence of any demand, suit, or other proceeding pending, or

order, decree or judgment entered against any Insured prior to [December 31,

2016], or the same or substantially the same fact, circumstance or situation

underlying or alleged therein.” Pending and Prior Litigation Endorsement (Form

MGEM 4303 12 15). Also, at the time of the issuance of certain excess policies,

Sycamore warranted that it had no knowledge of any facts or circumstances that

may give rise to a Claim. This preliminarily appears to be a false statement, and a

determination of whether any indemnity is owing could center on the knowledge of

various individuals within Sycamore—presumably, none of whom reside in


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Delaware or are subject to subpoena by Delaware courts.4 Sycamore also agreed

that “any claim based upon, arising from, or [] any act, error, omission of which

any such person has any actual knowledge or information will be excluded from

coverage under the [MAIC Excess Policy].” December 31, 2016 Warranty Letter.

Because this lawsuit is premature, there is no way to know if any potential Claim

or settlement for which Sycamore demands reimbursement and indemnification

will fall within the parameters of the aforementioned exclusion or warranty.5

Currently, it is impossible to guess what facts may bear on the availability of

coverage. Thus, the third “ripeness” factor also favors dismissal.

      Fourth, for all of the reasons stated herein, “the need to conserve scarce

resources” factor also strongly favors MAIC’s dismissal in order to spare MAIC

from having to incur the costs of futile litigation and having this Court manage the

needless litigation.

      Finally, a “due respect for identifiable policies of law touching upon the

subject matter in dispute” cautions against premature judgment, wasteful litigation

and what would amount to an unenforceable determination as to MAIC’s liability.

One “identifiable polic[y] of law” in the evaluation of this fifth prong of the

4
  It is conceivable given the intense factual issues that would arise regarding
indemnity coverage, in light of the warranty by Sycamore, that Sycamore would
move to stay this litigation.
5
  MAIC believes that the September 11, 2018 demand letter sets forth facts which,
if true, would constitute knowledge and a breach of the warranty.

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“ripeness” test is the risk of an incorrect decision or error in the development of the

law. See Schick Inc. v. Amalgamated Clothing & Textile Workers Union, 533 A.2d

1235, 1239 (Del. Ch. 1987) (“To address a matter before the facts surrounding the

dispute are fully developed necessarily not only increases the risk of an incorrect

judgment in the particular case, but risks, as well, an inappropriate or unnecessary

step in the incremental law building process itself.”). Due to the fact there is no

judgment or settlement for the Defendant Insurers to consider whether

indemnification is even warranted pursuant to the express terms of the Policies, the

risk of an incorrect judgment is inherently increased.        Accordingly, the fifth

“ripeness” factor requires dismissal of Counts II and III as alleged against MAIC.

      B.     Sycamore Failed To Allege Exhaustion As Required By The Terms
             Of The Policies.

      Coverage under the MAIC Excess Policy has not been triggered by

exhaustion of the Underlying Insurance, which is an indispensable condition

precedent. See, e.g., Qualcomm, Inc. v. Certain Underwriters at Lloyd’s, London,

161 Cal. App. 4th 184, 195 (2008) (no excess coverage absent exhaustion of

underlying insurance by actual payment).6 Sycamore appears to contend that it is

entitled to coverage, be it reimbursement for Defense Expenses or indemnity for a


6
 New York law is not materially different from California regarding exhaustion of
an excess policy requiring payment of its underlying limits whether by the Insurers
or other parties. See Cooper v. Certain Underwriters at Lloyd’s, London, No.:
2:14-cv-07475-FMO-MAN, 2018 WL 1548208, at *1 (9th Cir. Mar. 30, 2018).

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settlement, from an excess insurer even when the insured has not received payment

from the primary insurer sufficient to exhaust the underlying primary limit. Thus,

in contravention of legal authority and the express terms of the Policies, Sycamore

seeks a declaration that MAIC’s excess coverage obligations to Sycamore are not

contingent upon exhaustion of the limit of the underlying insurance and that the

Excess Insurers are obligated to pay all Defense Expenses and any settlement.

However, the “[p]lain policy language on exhaustion . . . will control.” Intel Corp.

v. Am. Guar. & Liability Ins. Co., 51 A.3d 442, 450 (Del. 2012).

      Sycamore contends that MAIC, as an Excess Carrier, must pay all submitted

invoices for Defense Expenses notwithstanding the MAIC Excess Policy does not

provide for that. The Defendants, including MAIC, are only obligated to pay

reasonable and covered Defense Expenses incurred by Sycamore. There is no

indication in Sycamore’s Complaint that Defense Expenses are or ever will

approach the layer of the MAIC Excess Policy, which would require Sycamore to

incur more than $50,000,000 in Defense Expenses (plus Sycamore’s $500,000

retention). Therefore, MAIC has no obligation under the MAIC Excess Policy

until a determination has been made that Defense Expenses are reasonable and

covered and all Underlying Insurance has been exhausted.

      Any obligation MAIC has under the MAIC Excess Policy is triggered “only

after the insurers of the Underlying Insurance, an excess difference-in-conditions


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(“DIC”) insurer, the Insureds, or parties on behalf of the Insureds pay in legal

currency as loss covered under the Underlying Insurance, the full amount of the

Underlying Limit.” Amended Insuring Agreement (Form MAUB 1503 01 15).

Therefore, specifically, MAIC’s coverage obligation as to Count II and/or Count

III is not triggered until exhaustion of the $50 million Underlying Insurance plus

Sycamore’s $500,000 retention, and nowhere in the Complaint does Sycamore

allege as much and there is no evidence to suggest exhaustion has occurred.

Accordingly, Sycamore fails to state a claim for relief as to Count II and Count III.

      C.     This Action Should Be Dismissed Based On Forum Non Conveniens.

      As the Delaware Supreme Court recently reiterated, there are three

“procedural postures of forum non conveniens disputes: a first-filed Delaware case

with no case pending elsewhere (the Cryo-Maid test); a second-filed Delaware case

with another first-filed case pending elsewhere (the McWane test); and . . . a

later-filed Delaware case after another jurisdiction had dismissed a first-filed case

for forum non conveniens.” Aranda v. Philip Morris USA Inc., No. 525, 2016, 183

A.3d 1245, 1250 (Del. 2018).

      In this instance, arguably, with the pendency of the Nine West Bankruptcy

action, there is a first-filed action in another forum, and the McWane test controls.

To that end, the Delaware Supreme Court has long held that Delaware courts have

broad discretion to dismiss an action in a later-filed lawsuit where there are earlier


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filed actions regarding similar issues in a foreign jurisdiction. See McWane Cast

Iron Pipe Corp. v. McDowell-Wellman Eng’g Co., 263 A.2d 281, 283 (Del. 1970)

(“[A]s a general rule, litigation should be confined to the forum in which it is first

commenced, and a defendant should not be permitted to defeat the plaintiffs choice

of forum in a pending suit by commencing litigation involving the same cause of

action in another jurisdiction of its own choosing . . . .”).

             1.     The Application Of The McWane Test

      The first McWane factor considers whether there is a prior action pending

elsewhere. Arguably, the Nine West Bankruptcy action pending in the Southern

District of New York is inextricably intertwined with this action and should be

viewed as first-filed. It is that Bankruptcy Court that will ultimately control the

ability to bring or settle the litigation against Sycamore—the same litigation for

which Sycamore seeks coverage in this action. In addition, any disputes regarding

any such potential litigation and settlement will be appealed from the Bankruptcy

Court to the District Court of the Southern District of New York. Subsequent to

the Nine West Bankruptcy action, Sycamore filed this action despite the fact

reactive lawsuits are disfavored in Delaware.            See Dura Pharms., Inc. v.

Scandipharm, Inc., 713 A.2d 925, 929 (Del. Ch. 1998) (allowing a “second-filed

reactive Delaware action [to] succeed in ousting a foreign plaintiff of its choice of

forum . . . would undermine the very considerations of comity and efficiency on


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which the general rule of McWane is based . . . .”). This factor favors dismissal of

this action in favor of another forum.

      The second McWane factor is whether the prior action is in a court capable

of doing prompt and complete justice. Any coverage litigation should take place in

the Southern District of New York based on the factors noted herein. The District

Court is fully capable of providing prompt and complete justice. New York law

should apply to the coverage dispute. The Plaintiffs’ principal place of business is

in New York. The conduct underlying the Nine West Bankruptcy action and any

coverage litigation occurred in New York.        The great majority of witnesses

relevant to the coverage dispute reside in New York and virtually all relevant

documents are maintained in New York. There is no question that the District

Court of the Southern District of New York can do prompt and complete justice.

      The third McWane factor is whether the two actions involve the same parties

and substantially the same issues.       “Consistent with the McWane doctrine

generally, the ‘same parties, same issues’ analysis focuses on substance over

form.” Kurtin v. KRE LLC, 2005 WL 1200188, at *4 (Del. Ch. May 16, 2005).

“The captions need not be exact replicas, nor must the counts in each complaint be

identical.” Diedenhofen-Lennartz v. Diedenhofen, 931 A.2d 439, 446 (Del. Ch.

2007); see also Gen. Video Corp v. Kertesz, 2006 WL 2051023, at *4 (Del. Ch.




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July 19, 2006) (“An absolute identity of the parties and issues is not necessary for a

dismissal or stay under McWane.”).

         Once the Nine West Bankruptcy action has authorized litigation against

Sycamore, the two actions will both involve Sycamore. More importantly, the

substantive issues involved in each action are substantially similar. Both actions

will focus on the underlying conduct of Sycamore for purposes of litigation against

Sycamore based on the Nine West Bankruptcy action and for a determination of

coverage under the policies of insurance issued by the Defendant Insurers. Simply

put, the subsequent coverage litigation arises out of the same set of facts as the

Nine West Bankruptcy action. This factor favors dismissal of this action.

               2.     The Application of the Cryo-Maid Test

         Should this Court determine that the Nine West Bankruptcy action is not a

first-filed action, then the Cryo-Maid test applies to determine dismissal. The

Cryo-Maid test requires consideration of:

         (1)   the relative ease of access to proof;
         (2)   the availability of compulsory process for witnesses;
         (3)   the possibility of the view of the premises;7
         (4)   whether the controversy is dependent upon the application of
               Delaware law, which the courts of this State more properly
               should decide than those of another jurisdiction;
         (5)   the pendency or non-pendency of a similar action or actions in
               another jurisdiction; and
         (6)   all other practical problems that would make the trial of the
               case easy, expeditious and inexpensive.
7
    This factor is not impacted in this matter.

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Martinez v. E.I. DuPont de Nemours and Co., Inc., 86 A.3d 1102, 1104 (Del.

2014) (citing Gen. Foods Corp. v. Cryo-Maid, Inc., 198 A.2d 681 (Del. 1964)).

       However, the Delaware Supreme Court has noted that the issue is not the

number of factors favoring one side or the other, but “whether any or all of the

Cryo-Maid factors establish that defendant will suffer overwhelming hardship and

inconvenience if forced to litigate in Delaware.” Chrysler First Bus. Credit Corp.

v. 1500 Locust Ltd. Partnership, 669 A.2d 104, 108 (Del. 1995). Furthermore, this

Court “may permissibly exercise its discretion under Cryo-Maid to weigh

appropriately the [Defendant Insurers’] interest in obtaining an authoritative ruling

from the relevant foreign courts on the legal issue on which its liability hinges, as

distinguished from a predictive, non-authoritative ruling by our courts.” Martinez,

86 A.3d at 1111; see also Williams Gas Supply Co. v. Apache Corp., No.: 90C-

AU-1, 1991 WL 18091, at *4 (Del. Super. Feb. 12, 1991) (“This Court recognizes

that the interests of other States in a dispute should not be usurped by Delaware,

where the only nexus to Delaware is the incorporation of one or both of the

parties.”).

                    i.    The Evidence And Witnesses Are Located In New York.

       As set forth in the Complaint, all of the parties’ principal places of business

are located in places other than Delaware. See Compl. ¶¶ 10-12: Plaintiffs—New

York; ¶¶ 13, 17, 21: Defendants Endurance, Starr, and Ironshore—New York;


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¶¶ 14, 15: Defendants CNA and Zurich—Illinois; ¶ 16: Defendant XL—

Connecticut; ¶ 18: Defendant MAIC—Virginia; ¶ 19: Defendant Argonaut—

Texas; ¶ 20: Defendant Great American—Ohio; ¶ 22: Defendant Everest—New

Jersey. As these entities are not located in in Delaware, none of the witnesses or

evidence is located in Delaware. This factor weighs in favor of dismissal.

                    ii.    Determinations Of Coverage Under The Policies Would
                           Be Governed By New York Law.

      As the Policies were negotiated and issued to an insured located in New

York and the conduct at issue occurred in New York, it is only reasonable that the

claims are governed by New York law. See Williams, 1991 WL 18091, at *3

(“While it is not unusual for courts of this State to deal with questions arising

under the law of other jurisdictions, the fact that Delaware law will likely not apply

does weigh in favor of the defendant’s motion.”). Accordingly, as Delaware law

will not apply to resolution of the coverage issues, this factor favors dismissal.

                    iii.   Practical Problems That Would Make the Case Easy,
                           Expeditious and Inexpensive to Try.

      Any litigation in this action against any of the Defendant Insurers has to be

authorized by the United States Bankruptcy Court for the Southern District of New

York in which the Nine West Bankruptcy action is pending.                Further, any

settlement of this action has to be approved by the United States Bankruptcy Court

for the Southern District of New York. Should litigation be approved by the


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Bankruptcy Court and a settlement thereof, they would both be subject to the views

of all of the other constituencies in the bankruptcy, none of whom may be located

in Delaware.

                   iv.    Pendency Of Another Action.

      As discussed above, the Nine West Bankruptcy action is a prior pending

action. As a result, this Court should dismiss this case and order that it should be

properly filed in New York. This factor therefore also favors dismissal.

IV.   CONCLUSION

      Because Sycamore’s Complaint, specifically the two Counts alleged against

MAIC, fails to state a claim on which relief may be granted, and because

Sycamore has failed to and cannot meet its burden to demonstrate the existence of

a ripe controversy within this Court’s jurisdiction, MAIC respectfully requests that

the Court dismiss Counts II and III of the Complaint as alleged against MAIC with

prejudice and without the right to replead.

      In the alternative, this Court should dismiss this action based on forum non

conveniens for the reasons set forth herein.




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                                      YOUNG CONAWAY STARGATT
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Dated: October 15, 2018               American Insurance Company




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 313 of 349 PageID #: 319
            Defendant Markel American Insurance Company's Brief in Support of Its Motion to Dismiss




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                                                                                CCLDSQUARE

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                                 October 15, 2018

HAND DELIVERY AND
FILEANDSERVEXPRESS
The Honorable Abigail M. LeGrow
Superior Court of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801

            Re: Sycamore Partners Management, L.P., et al. v. Endurance American
                Insurance Company, et al. N18C-09-211-AML (CCLD)

Dear Judge LeGrow:

            Enclosed please find two courtesy copies of (1) Defendant Markel

American Insurance Company’s Motion to Dismiss, and (2) Defendant Markel

American Insurance Company’s Brief in Support of its Motion to Dismiss.




          Rodney Square ● 1000 North King Street ● Wilmington, DE 19801
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Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 315 of 349 PageID #: 321

YOUNG CONAWAY STARGATT & TAYLOR, LLP
The Honorable Abigail M. LeGrow
October 15, 2018
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             Counsel is available at the Court’s convenience if Your Honor has any

questions regarding the enclosed.


                                            Respectfully submitted,

                                            /s/ Elena C. Norman

                                            Elena C. Norman (No. 4780)


Enclosures

cc: David Baldwin, Esq. (via e-filing)
    Carla Jones, Esq. (via e-filing)
    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 316 of 349 PageID #: 322
                Letter to The Honorable Abigail M. LeGrow from Elena C. Norman enclosing copies of




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    Case 1:18-cv-01650-MN Document 1-1 Filed 10/23/18 Page 321 of 349 PageID #: 327
            Amendment to Complaint Under Superior Court Rule 4(h) for Argonaut Insurance Company




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           Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Argonaut Insurance




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           Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Argonaut Insurance




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                                                    Case No. N18C-09-211 AML CCLD
                           CERTIFICATE OF SERVICE
        David J. Baldwin hereby certifies that, on this 15th day of October 2018, he

caused to be filed, via File & ServeXpress, an electronic version of the foregoing

document and to be served, via File & ServeXpress, upon the Delaware Counsel of

record identified below:

Elena C. Norman, Esq.
Young Conaway Stargatt
 & Taylor, LLP
Rodney Square
1000 North King Street
Wilmington, DE 19801

Attys. for Markel American Insurance
Company



                                              /s/ David J. Baldwin
                                              David J. Baldwin (No. 1010)
                                              Carla M. Jones (No. 6046)
5959313/45380
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                Certificate of Service for Amendment to Complaint Under Superior Court Rule 4(h) for




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                Amendment to Complaint Under Superior Court Rule 4(h) for Great American Insurance




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             Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Great American




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                                                      New Castle County
                                          Docket for Case #: N18C-09-211 AML CCLD



    Sycamore Partners Management, L.P., et al. v. Endurance American
                       Insurance Company, et al.
Date Filed:                     Sept 24, 2018
Status:                         Active
Assigned to:                    Abigail M LeGrow
Case Type:                      Civil-Complex Commercial - CCLD - Complex Commercial Litigation Division


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   Defendant                  Argonaut Insurance Company



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 Defendant                      Continental Casualty Company



 Defendant                      Endurance American Insurance Company



 Defendant                      Everest National Insurance Company



 Defendant                      Great American Insurance Company



 Defendant                      Ironshore Indemnity Inc.



 Defendant                      Markel American Insurance Company

 Representation                 Elena C Norman
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                                fax: (302) 571-3341



 Defendant                      Starr Indemnity & Liability Company



 Defendant                      XL Specialty Insurance Company



 Defendant                      Zurich American Insurance Company



Docket Entries

Entry #           Filing Date           Description

  BL-1            Sept 24, 2018         Complaint

                  Date                                  Time                       Type                      Status

                  Sep 25, 2018                          10:16:08                   Complaint                 Accepted


  BL-2            Sept 24, 2018         Case Information Statement .

                  Date                       Time                   Type                                              Status

                  Sep 25, 2018               10:16:08               Case Information Statement                        Accepted

  BL-3            Sept 24, 2018         Praecipe

                  Date                                   Time                        Type                   Status

                  Sep 25, 2018                           10:16:08                    Praecipe               Accepted


  BL-4            Sept 24, 2018         Summons Under 10 Del. C. Section 3104

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                 Date                                 Time                            Type                     Status

                 Sep 25, 2018                         10:16:08                        Summons                  Accepted

 BL-5            Sept 24, 2018      Summons Insurance Commissioner

                 Date                                 Time                            Type                     Status

                 Sep 25, 2018                         10:16:08                        Summons                  Accepted

 BL-6            Sept 24, 2018      Summons Registered Agent

                 Date                                 Time                            Type                     Status

                 Sep 25, 2018                         10:16:09                        Summons                  Accepted

 BL-7            Oct 5, 2018        (31) Writs issued on 10-2-2018.

                 Date                          Time                            Type                              Status

                 Oct 5, 2018                   15:43:17                        Writ(s) Issued                    Accepted


 BL-8            Oct 9, 2018        Entry of Appearance of Elena C. Norman, Esq. of Young Conaway Stargatt &
                                    Taylor, LLP on behalf of Defendant Markel American Insurance Company with
                                    certificate of service

                 Date                        Time                       Type                                          Status

                 Oct 10, 2018                13:46:32                   Entry of Appearance                           Accepted

 BL-9            Oct 9, 2018        Perlis, Michael F.: Motion for Admission Pro Hac Vice to represent Defendant
                                    Markel American Insurance Company with certificate of service

                 Date                      Time                       Type                                               Status

                 Oct 10, 2018              13:46:32                   Motion for Pro Hac Vice                            Accepted


 BL-10           Oct 9, 2018        Perlis, Michael F.: Notice of Motion for Admission Pro Hac Vice to represent
                                    Defendant Markel American Insurance Company to be presented at the
                                    convenience of the Court.

                 Date                                   Time                              Type               Status

                 Oct 10, 2018                           13:46:33                          Notice             Accepted


 BL-11           Oct 9, 2018        Perlis, Michael F.: Certification Pursuant to Superior Court Civil Rule 90.1(B) to
                                    Motion for Admission Pro Hac Vice to represent Defendant Markel American
                                    Insurance Company

                 Date                               Time                          Type                          Status

                 Oct 10, 2018                       13:46:33                      Certification                 Accepted


 BL-12           Oct 9, 2018        Perlis, Michael F. : [Proposed] Order to Motion for Admission Pro Hac Vice to
                                    represent Defendant Markel American Insurance Company

                 Date                   Time                   Type                                                        Status

                 Oct 10, 2018           13:46:33               Proposed Order - Pro Hac Vice                               Accepted

 BL-13           Oct 9, 2018        Economou, Cary J.: Motion for Admission Pro Hac Vice to represent Defendant
                                    Markel American Insurance Company

                 Date                      Time                       Type                                               Status

                 Oct 10, 2018              13:46:33                   Motion for Pro Hac Vice                            Accepted


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 BL-14           Oct 9, 2018        Economou, Cary J.: Notice of Motion for Admission Pro Hac Vice to represent
                                    Defendant Markel American Insurance Company to be presented at the
                                    convenience of the Court

                 Date                                   Time                             Type                Status

                 Oct 10, 2018                           13:46:33                         Notice              Accepted

 BL-15           Oct 9, 2018        Economou, Cary J.: Certification Pursuant to Superior Court Civil Rule 90.1(B) to
                                    Motion for Admission Pro Hac Vice to represent Defendant Markel American
                                    Insurance Company

                 Date                               Time                         Type                            Status

                 Oct 10, 2018                       13:46:33                     Certification                   Accepted


 BL-16           Oct 9, 2018        Economou, Cary J. : [Proposed] Order to Motion for Admission Pro Hac Vice to
                                    represent Defendant Markel American Insurance Company

                 Date                   Time                   Type                                                        Status

                 Oct 10, 2018           13:46:33               Proposed Order - Pro Hac Vice                               Accepted

 BL-17           Oct 11, 2018       Failla, John E.: Motion for Admission Pro Hav Vice on behalf of Plaintiffs Sycamore
                                    Partners Management, L.P., et al.

                 Date                      Time                       Type                                               Status

                 Oct 11, 2018              12:50:37                   Motion for Pro Hac Vice                            Accepted

 BL-18           Oct 11, 2018       Failla, John E.: Notice of Motion for Admission Pro Hav Vice on behalf of Plaintiffs
                                    Sycamore Partners Management, L.P., et al. to be presented at the convenience of
                                    the Court

                 Date                                   Time                             Type                Status

                 Oct 11, 2018                           12:50:37                         Notice              Accepted


 BL-19           Oct 11, 2018       Failla, John E.: Proposed Order granting the Motion for Admission Pro Hav Vice on
                                    behalf of Plaintiffs Sycamore Partners Management, L.P., et al.

                 Date                   Time                   Type                                                        Status

                 Oct 11, 2018           12:50:37               Proposed Order - Pro Hac Vice                               Accepted

 BL-20           Oct 11, 2018       Failla, John E.: Certification for Admission Pro Hav Vice on behalf of Plaintiffs
                                    Sycamore Partners Management, L.P., et al.

                 Date                               Time                         Type                            Status

                 Oct 11, 2018                       12:50:37                     Certification                   Accepted

 BL-21           Oct 11, 2018       Failla, John E.: Certificate of Service for Motion for Admission Pro Hav Vice on
                                    behalf of Plaintiffs Sycamore Partners Management, L.P., et al.

                 Date                        Time                       Type                                            Status

                 Oct 11, 2018                12:50:37                   Certificate of Service                          Accepted

 BL-22           Oct 11, 2018       Lander, Nathan R.: Motion for Admission Pro Hac Vice on behalf of Plaintiffs
                                    Sycamore Partners Management, L.P., et al.

                 Date                      Time                       Type                                               Status

                 Oct 11, 2018              12:57:13                   Motion for Pro Hac Vice                            Accepted

 BL-23           Oct 11, 2018       Lander, Nathan R.: Notice of Motion for Admission Pro Hac Vice on behalf of


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                                    Plaintiffs Sycamore Partners Management, L.P., et al to be presented at the
                                    convenience of the Court

                 Date                                   Time                           Type                Status

                 Oct 11, 2018                           12:57:13                       Notice              Accepted


 BL-24           Oct 11, 2018       Lander, Nathan R.: Proposed Order granting the Motion for Admission Pro Hac
                                    Vice on behalf of Plaintiffs Sycamore Partners Management, L.P., et al

                 Date                   Time                   Type                                                       Status

                 Oct 11, 2018           12:57:13               Proposed Order - Pro Hac Vice                              Accepted

 BL-25           Oct 11, 2018       Lander, Nathan R.: Certification for Admission Pro Hac Vice on behalf of Plaintiffs
                                    Sycamore Partners Management, L.P., et al

                 Date                               Time                       Type                            Status

                 Oct 11, 2018                       12:57:13                   Certification                   Accepted

 BL-26           Oct 11, 2018       Lander, Nathan R.: Certificate of Service for Motion for Admission Pro Hac Vice on
                                    behalf of Plaintiffs Sycamore Partners Management, L.P., et al

                 Date                        Time                     Type                                          Status

                 Oct 11, 2018                12:57:13                 Certificate of Service                        Accepted


 BL-27           Oct 12, 2018       Granted (Lander, Nathan R.: Proposed Order granting the Motion for Admission
                                    Pro Hac Vice on behalf of Plaintiffs Sycamore Partners Management, L.P., et al)

                 Date                        Time                     Type                                          Status

                 Oct 15, 2018                13:23:09                 Order - Pro Hac Vice                          Accepted


 BL-28           Oct 12, 2018       Granted (Failla, John E.: Proposed Order granting the Motion for Admission Pro
                                    Hav Vice on behalf of Plaintiffs Sycamore Partners Management, L.P., et al.)

                 Date                        Time                     Type                                          Status

                 Oct 15, 2018                13:23:40                 Order - Pro Hac Vice                          Accepted

 BL-29           Oct 12, 2018       Granted (Perlis, Michael F. : [Proposed] Order to Motion for Admission Pro Hac
                                    Vice to represent Defendant Markel American Insurance Company)

                 Date                        Time                     Type                                          Status

                 Oct 15, 2018                13:26:38                 Order - Pro Hac Vice                          Accepted


 BL-30           Oct 12, 2018       Granted (Economou, Cary J. : [Proposed] Order to Motion for Admission Pro Hac
                                    Vice to represent Defendant Markel American Insurance Company)

                 Date                        Time                     Type                                          Status

                 Oct 15, 2018                13:26:38                 Order - Pro Hac Vice                          Accepted

 BL-31           Oct 15, 2018       Defendant Markel American Insurance Company's Motion to Dismiss with
                                    certificate of service

                 Date                          Time                     Type                                      Status

                 Oct 15, 2018                  14:18:53                 Motion to Dismiss                         Accepted

 BL-32           Oct 15, 2018       [Proposed] Order to Defendant Markel American Insurance Company's Motion to
                                    Dismiss

                 Date                           Time                      Type                                    Status


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                 Oct 15, 2018                   14:18:53                  Proposed Order                     Accepted


 BL-33           Oct 15, 2018       Defendant Markel American Insurance Company's Brief in Support of Its Motion to
                                    Dismiss with certificate of service

                 Date                            Time                        Type                           Status

                 Oct 15, 2018                    14:18:53                    Opening Brief                  Accepted


 BL-34           Oct 15, 2018       Letter to The Honorable Abigail M. LeGrow from Elena C. Norman enclosing copies
                                    of Defendant Markel American Insurance Company's Motion to Dismiss and Brief

                 Date                                   Time                            Type           Status

                 Oct 16, 2018                           08:30:46                        Letter         Accepted

 BL-35           Oct 15, 2018       Amendment to Complaint Under Superior Court Rule 4(h) for Argonaut Insurance
                                    Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                    Time                  Type                                                 Status

                 Oct 16, 2018            08:45:44              Amendment to the Complaint                           Accepted

 BL-36           Oct 15, 2018       Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Argonaut
                                    Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                               Time                             Type                Status

                 Oct 16, 2018                       08:45:44                         Exhibits            Accepted


 BL-37           Oct 15, 2018       Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Argonaut
                                    Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                               Time                             Type                Status

                 Oct 16, 2018                       08:45:44                         Exhibits            Accepted


 BL-38           Oct 15, 2018       Certificate of Service for Amendment to Complaint Under Superior Court Rule 4(h)
                                    for Argonaut Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                       Time                      Type                                        Status

                 Oct 16, 2018               08:45:44                  Certificate of Service                      Accepted

 BL-39           Oct 15, 2018       Amendment to Complaint Under Superior Court Rule 4(h) for Great American
                                    Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                    Time                  Type                                                 Status

                 Oct 16, 2018            08:46:34              Amendment to the Complaint                           Accepted

 BL-40           Oct 15, 2018       Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Great
                                    American Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                               Time                             Type                Status

                 Oct 16, 2018                       08:46:34                         Exhibits            Accepted

 BL-41           Oct 15, 2018       Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Great
                                    American Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                               Time                             Type                Status

                 Oct 16, 2018                       08:46:34                         Exhibits            Accepted

 BL-42           Oct 15, 2018       Certificate of Service for Amendment to Complaint Under Superior Court Rule 4(h)
                                    for Great American Insurance Company pursuant to 10 Del. C. Section 3104(d)(3)


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                 Date                       Time                     Type                                           Status

                 Oct 16, 2018               08:46:34                 Certificate of Service                         Accepted

 BL-43           Oct 15, 2018       Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore Indemnity
                                    Inc. pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                    Time                 Type                                                    Status

                 Oct 16, 2018            10:05:38             Amendment to the Complaint                              Accepted

 BL-44           Oct 15, 2018       Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Ironshore
                                    Indemnity Inc. pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                                Time                           Type                   Status

                 Oct 16, 2018                        10:05:38                       Exhibits               Accepted

 BL-45           Oct 15, 2018       Certificate of Service for Amendment to Complaint Under Superior Court Rule 4(h)
                                    for Ironshore Indemnity Inc. pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                       Time                     Type                                           Status

                 Oct 16, 2018               10:05:38                 Certificate of Service                         Accepted


 BL-46           Oct 15, 2018       Amendment to Complaint Under Superior Court Rule 4(h) for Starr Indemnity &
                                    Liability Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                    Time                 Type                                                    Status

                 Oct 16, 2018            10:06:48             Amendment to the Complaint                              Accepted

 BL-47           Oct 15, 2018       Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for Starr
                                    Indemnity & Liability Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                                Time                           Type                   Status

                 Oct 16, 2018                        10:06:48                       Exhibits               Accepted


 BL-48           Oct 15, 2018       Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for Starr
                                    Indemnity & Liability Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                                Time                           Type                   Status

                 Oct 16, 2018                        10:06:48                       Exhibits               Accepted


 BL-49           Oct 15, 2018       Certificate of Service for Amendment to Complaint Under Superior Court Rule 4(h)
                                    for Starr Indemnity & Liability Company pursuant to 10 Del. C. Section 3104(d)(3)

                 Date                       Time                     Type                                           Status

                 Oct 16, 2018               10:06:48                 Certificate of Service                         Accepted

 BL-50           Oct 16, 2018       Letter to Judge LeGrow from Elena C. Norman regarding Corrected Brief in
                                    Support of Defendant MAIC's Motion to Dismiss

                 Date                                  Time                            Type               Status

                 Oct 17, 2018                          08:39:13                        Letter             Accepted


 BL-51           Oct 16, 2018       EXHIBIT A: Redline of Corrected Brief in Support of Defendant MAIC's Motion to
                                    Dismiss

                 Date                                Time                           Type                   Status

                 Oct 17, 2018                        08:39:13                       Exhibits               Accepted

                 Oct 16, 2018       Corrected Brief in Support of Defendant MAIC's Motion to Dismiss with certificate of

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 BL-52
                                             service

                     Date                                   Time                         Type                                     Status

                     Oct 17, 2018                           08:39:13                     Opening Brief                            Accepted

 BL-53              Oct 22, 2018             Amendment to Complaint Under Superior Court Rule 4(h) for Continental Casualty
                                             Company pursuant to 10 Del. C. Section 3104(d)(3)

                     Date                          Time                   Type                                                           Status

                     Oct 22, 2018                  15:23:42               Amendment to the Complaint                                     Accepted


 BL-54              Oct 22, 2018             Exhibit A to Amendment to Complaint Under Superior Court Rule 4(h) for
                                             Continental Casualty Company pursuant to 10 Del. C. Section 3104(d)(3)

                     Date                                        Time                            Type                         Status

                     Oct 22, 2018                                15:23:42                        Exhibits                     Accepted


 BL-55              Oct 22, 2018             Exhibit B to Amendment to Complaint Under Superior Court Rule 4(h) for
                                             Continental Casualty Company pursuant to 10 Del. C. Section 3104(d)(3)

                     Date                                        Time                            Type                         Status

                     Oct 22, 2018                                15:23:42                        Exhibits                     Accepted

 BL-56              Oct 22, 2018             Certificate of Service for Amendment to Complaint Under Superior Court Rule 4(h)
                                             for Continental Casualty Company pursuant to 10 Del. C. Section 3104(d)(3)

                     Date                              Time                      Type                                                  Status

                     Oct 22, 2018                      15:23:42                  Certificate of Service                                Accepted

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                                      General Information



Court                                 Delaware Superior Court, New Castle County

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